        Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21     Page 1 of 68




            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE

VALEO NORTH AMERICA, INC.,

                   Plaintiff,                         Court No. 21-00426

       v.

UNITED STATES OF AMERICA,

                   Defendant.



   PLAINTIFF’S MOTION FOR LEAVE OF COURT TO AMEND COMPLAINT OR
    CONSOLIDATE CASES AND OPPOSITION TO DEFENDANT’S MOTION TO
                              DISMISS

       Plaintiff, Valeo North America, Inc. (“Valeo”), opposes Defendant’s Rule 12(b)(1)

motion to dismiss and moves to amend the Summons and Complaint pursuant to Rules 3(e) and

15(a) of the Rules of United States Court of International Trade, respectively, to amend the

jurisdictional basis for the claims present in Valeo’s complaint and to present claims not

currently included in Plaintiff’s complaint challenging the U.S. Department of Commerce’s

(“Commerce”) failure to issue a lawful scope ruling or initiate a formal scope ruling within

regulatory deadlines. Alternatively, Plaintiff moves to consolidate this matter with Court No. 21-

00581. The reasons for this opposition and motion to amend or consolidate are detailed below.

Valeo’s proposed Amended Summons and Amended Complaint are provided with this motion.

       A. Commerce Continues to Refuse to Issue a Lawful Scope Determination

       Commerce has still not issued a lawful scope determination. The memorandum issued by

Commerce on October 15, 2021 is not a lawful scope determination and Commerce continues to

be in violation of its regulatory obligation to either (1) issue a lawful scope determination; or (2)

formally initiate a scope proceeding.
        Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21      Page 2 of 68




       Commerce has forty-five days to either (1) issue a scope ruling based solely upon the

scope ruling application and the descriptions of the merchandise utilizing “(k)(1)” sources in the

applicable regulation, or (2) initiate a formal scope inquiry to consider certain “(k)(2)” regulatory

factors. See 19 C.F.R. 351.225(c)(2) (April 1, 2021); see also 19 C.F.R. 351.225(d) and (e).

Commerce has done neither, choosing instead to issue a memorandum finding that Valoe’s T-

series aluminum is subject to the scope of the AD-CVD orders. This determination was reached

without consideration of the regulatory framework required in a scope analysis. Failure to

follow the regulatory framework for issuing a scope determination renders Commerce’s

memorandum an unlawful determination that must be set aside.

       Commerce’s regulations outline the necessary steps for assessing whether a product is

included within the scope of an order. See 19 C.F.R. § 351.225 (2015). Commerce will consider

“{t}he descriptions of the merchandise contained in the petition, the initial investigation, and the

determinations of the Secretary (including prior scope determinations) and the Commission.” 19

C.F.R. § 351.225(k)(1). Should these “(k)(1) factors” not be dispositive, Commerce then turns to

subsection (k)(2), which lists the following “(k)(2) factors” to consider: “(i) {t}he physical

characteristics of the product; (ii) {t}he expectations of the ultimate purchasers; (iii) {t}he

ultimate use of the product; (iv) {t}he channels of trade in which the product is sold; and (v)

{t}he manner in which the product is advertised and displayed.” 19 C.F.R. § 351.225(k)(2).

Commerce may not interpret an order “so as to change the scope of that order, nor can

Commerce interpret an order in a manner contrary to its terms.” Eckstrom Indus., Inc. v. United

States, 254 F.3d 1068, 1072 (Fed. Cir. 2001) (citing Wheatland Tube Co. v. United States, 161

F.3d 1365, 1370 (Fed. Cir. 1998)).

       In its original scope ruling, Valeo provided a detailed description of the product,




                                                 -2-
        Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21     Page 3 of 68




including its technical characteristics and uses, and its current U.S. Tariff Classification number.

At no point has Commerce disputed this point. Moreover, “{t}he descriptions of the merchandise

contained in the petition, the initial investigation, and the determinations of the Secretary

(including prior scope determinations) and the Commission” were also provided. When it

“rejected” Valeo’s filing on July 2020, Commerce acknowledges that it did so “because it did not

contain all the information necessary to made a scope ruling, and { } issued an accompanying

supplemental questionnaire.” See Memorandum, from Frank Schmitt, Case Analyst, Office VI,

AD/CVD Operations, to Scot Fullerton, Associate Deputy Assistant Secretary for Antidumping

and Countervailing Duty Operations, Antidumping and Countervailing Duty Orders on

Aluminum Sheet from the People’s Republic of China; Final Scope Ruling Determination:

Valeo’s Heat-Treated T-Series Aluminum Sheet, Case Nos. A-570-073; C-570-074 (Oct. 15,

2021) (ACCESS Barcode: 4172205-01) (“Decision Memorandum”) at 2. In other words,

Commerce concluded that the k(1) factors (“{t}he descriptions of the merchandise contained in

the petition, the initial investigation, and the determinations of the Secretary (including prior

scope determinations) and the Commission)” were not dispositive. Despite the recognized

ambiguities, Commerce failed to initiate a scope ruling as required by the regulations.

       To resolve these ambiguities, on July 20, 2020 Commerce requested information related

to physical characteristics and end-use, both (k)(2) factors:

          Fully describe the heat treatment and/or annealing process which the heat-treated T-
           series aluminum sheet undergoes.

          Explain the distinction between “heat treatment” and “annealing” for Valeo’s T-series
           aluminum sheet

          Using your definition in response to the above question, would the heat-treated T-
           series aluminum sheet be considered heat treated, annealed, or both?




                                                 -3-
        Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21    Page 4 of 68




          At what point in the production process does the heat-treatment or annealing occur?
           Who performs it?

          At any time in the production of heat-treated T-series aluminum sheet is the
           temperature of the aluminum sheet increased to temperatures at or above 850°
           Fahrenheit?


See Letter from Commerce to Crowell & Moring LLP, Common Alloy Aluminum Sheet from the

People’s Republic of China: Supplemental Questionnaire on Heat-Treated T-Series Aluminum

Sheet, Case Nos. A-570-073; C-570-074 (July 20, 2020) (ACCESS Barcode: 4003318-01).

These questions clearly relate to (k)(2) factors.

       Finding that the scope was still ambiguous, despite receiving complete answers to

Commerce, July 20, 2020 questionnaire, on February 3, 2021, Commerce again “rejected”

Valeo’s scope ruling request “because it did not contain all the information necessary to make a

scope ruling, and we issued an accompanying supplemental questionnaire.” After conceding for

a second time that the (k)(1) factors were not dispositive, Commerce again sought information

related to (k)(2) elements:

           How is the “diffusion and integration of particles between original boundaries,”
            resulting in “no discrete boundary between the source alloys,” but with “discernable
            phases of diffused alloys,” that occurs with Valeo’s heat-treated T-series sheet
            different from the “diffusion between the core and cladding” that the Aluminum
            Association states may alter the composition of the cladding due to thermal
            treatment?

           Does the proprietary core of Valeo’s t-series aluminum sheet have a higher melting
            point than the 4045-aluminum alloy outer layers?

           Please resubmit the mechanical properties exhibit to show the mechanical properties
            for both heat-treated T-series aluminum sheet and pre-heat-treated center/inner layer
            of T-series aluminum.

           Other than the addition of flux coating, are there any steps taken to change the
            imported heat-treated T-series sheet from an intermediate product to a finished
            brazing sheet? If so, what are the additional steps taken to change the imported heat-
            treated T-series sheet from an intermediate product to a finished brazing sheet?




                                                    -4-
        Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21      Page 5 of 68




These are only exemplary of the additional information requested by Commerce that clearly go

to “{t}he physical characteristics of the product; (ii) {t}he expectations of the ultimate

purchasers; and (iii) {t}he ultimate use of the product, i.e., k(2) factors. In its determination

memorandum, Commerce concedes that information related to these (k)(2) factors were

necessary for its determination, but refuses to acknowledge that is was undertaking a (k)(2)

analysis.

       Commerce also went beyond the k(1) factors in off-the-record meetings with counsel for

DIP. On June 12, 2020, and April 19, 2021, Commerce held ex parte meeting with counsel for

the DIP. Valeo requested, but was denied, information on the factual information discussed at

these meeting and considered by Commerce. The only information available to Valeo is that the

relationship between an administrative review and Valeo’s scope ruling was discussed, which is,

again, information beyond the (k)(1) parameters. Valeo reiterates to the Court the same concern

expressed to Commerce regarding these meetings. If factual information was discussed and

presented, such information must be made part of the administrative record. To date, Commerce

has rejected Valeo’s request to provide such information.

       In its memorandum, Commerce concedes that it relied on information outside the (k)(1)

and solicited in the questionnaires discussed above. Commerce can cannot claim that it was

merely soliciting superfluous information as such information was central to its determination.

Setting aside the lack of substantial evidence supporting Commerce’s conclusion that Valeo did

not demonstrate that its T-series aluminum was heat-treated, the extensive discussion of heat

treatment in the decision memorandum demonstrates that the physical characteristics of the

product (a (k)(2) factor) was central to Commerce’s analysis. Commerce’s memorandum also

discusses the end-use of the product (“Valeo also argues that its T-series aluminum sheet is an




                                                 -5-
        Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 6 of 68




intermediate product…”). End-use, again, is a (k)(2) factor.

       Commerce portrays its analysis of product characteristics as a review to determine

whether Valeo’s merchandise fits within the meaning of scope terms, but Commerce’s analysis is

to determine the scope terms in the first instance. In its determination, Commerce engaged in

extensive analysis of the series of aluminum alloys designated by the Aluminum Association,

distinctions between clad and non-clad aluminum, and heat-treated and non-heat-treated

products, to reach a determination that Valeo’s merchandise at issue was subject merchandise.

Thus, Commerce relied on the physical characteristics to interpret the terms of the scope – not to

determine whether Valeo’s products meets those terms.

       Commerce’s discussions of physical characteristics, Aluminum Association publications,

and various declarations were not dispositive, a fact that Commerce confirmed in its unlawful

extensions. In letters dated September 18, 2020, November 2, 2020, December 17, 2020, May

10, 2020, June 22, 2021, and August 6, 2021, Commerce stated, “In light of issues concerning

key terms used in the scope of the Orders, we have determined that we shall require additional

time to issue a ruling for this scope segment of the proceeding.” Commerce did not or was not

able to define what is “clad,” “heat-treated,” and “3xxx-series based on the k(1) factors.

       In making its purported (k)(1) determination, Commerce relied upon publications by the

Aluminum Association and declarations of the Vice President of Standards and Technology for

the Aluminum Association. Commerce relied on those sources to define terms, such as “clad,”

“heat-treated,” and “3xxx-series.” Those are not appropriate regulatory (k)(1) sources. While

courts have allowed relying on industry jargon to assess whether a term in the scope language is

ambiguous, similar to relying on dictionary definitions, Commerce’s analysis is beyond

interpretation of a common meaning of a term. ArcelorMittal Stainless Belgium N.V. v. United




                                                -6-
        Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 7 of 68




States, 694 F.3d 82, 88, n.8 (Fed. Cir. 2012). (“{C}onsideration of industry jargon is not the

same as conducting a full-fledged analysis of the factors embodied in 19 C.F.R. §

351.225(k)(2).”). “Heat-treated” or “heat-treatable” are not terms in the scope language to

interpret. Concerning “clad” and “3xxx-series,” Commerce’s analysis involved connecting

various publications and declarations in its attempt to discern a dispositive meaning. Finally, the

declarations are not an appropriate source because they are not publicly available sources which

define a common meaning similar to dictionary definitions.

       Finally, Commerce did not even try to claim that it considered all of the applicable (k)(1)

factors, choosing instead to disregard required elements. Most notably, Commerce failed to

consider the Commission’s determination, a required k(1) element.

       The determination by the Commission was a central element in Valeo’s scope ruling

request. Indeed, as outlined by Valeo in its scope ruling request and multiple submissions of

additional information, Valeo’s T-series alloy is a heat-treatable and heat-treated alloy. The

Commission’s findings and exclusion of heat-treatable alloys from its injury analysis is a critical

factor in Valeo’s scope ruling request. The importance of this element was highlighted in Ad

Hoc Shrimp Trade Action Comm. v. United States, 515 F.3d 1372, 1380 (Fed. Cir. 2008)

(citation omitted). (“{A}llow{ing} Commerce to assess antidumping duties on products

intentionally omitted from the {Commission’s} injury investigation would frustrate the purpose

of the antidumping laws.”). The Commission’s findings are also an element required to be

considered by Commerce, and Commerce’s failure to do so renders its determination unlawful.

       In that determination, the Commission stated that the “{a}luminum sheet subject to these

investigations are of 1XXX, 3XXX, and 5XXX series alloys that are non-heat treatable.”

Additionally, the Commission stated that “heat-treated aluminum sheet (e.g., 6xxx alloy series) is




                                                -7-
        Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21     Page 8 of 68




not covered by Commerce’s scope” and did not include heat-treated aluminum sheet in its injury

determination. Instead of following the regulatory mandate to consider determinations by the

Commission, Commerce simply disregarded the Commission’s determination.

       Valeo explained to Commerce that the heat treatability of its product is permitted by the

high silicon content in the outer layer and the high copper content in the center layer.

Commerce, however, without defining “heat-treatable” in terms of chemical properties, defined

it as a non-clad product. According to Commerce, if a product is clad then it cannot be heat-

treated. And, finding Valeo’s product to be clad, Commerce determined that Valeo’s product as

a whole, including its individual layers, are not-heat treated. Commerce neither provided a

lawful definition of “heat-treatable” nor is its decision that Valeo’s product is not heat-treatable

supported by substantial evidence.

       Moreover, the Domestic Industry Producers conceded that heat-treated products are

excluded in the recent petitions on common alloy aluminum sheet from certain countries other

than China. The same declarant who provided declarations in this case, also provided

declarations in those petitions. See Memorandum to the File, Factual Information Relevant to

the Final Scope Ruling Determinaion: Valeo’s Heat-Treated T-Series Aluminum Sheet, Case

Nos. A-570-073; C-570-074 (Oct. 15, 2021) at Attachment 6, Exhibit GEN-3. Based on those

declarations, the Domestic Industry Producers, explained that a specific Harmonized Tariff

Schedule of the United States (“HTSUS”) subheading was created for reporting of out-of-scope

heat-treated products. Id. at Attachment 6, p.11. The HTSUS subheading 7606.12.3090 was

subdivided into subheadings 7606.12.3091 and 7606.12.3096 for out-of-scope heat-treated and

in-scope aluminum sheet, respectively. Statistical Note 6 to Chapter 76 provides that “heat-

treatable industrial alloys” refer to “aluminum containing by weight 3.0 percent or less of




                                                 -8-
        Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 9 of 68




magnesium and 3.0 percent or less of silicon, and/or are designated as series 6xxx in the

Aluminum Association’s specifications of registered alloys.” See Letter from Crowell & Moring

to Sec’y of Commerce, Request for Additional Information, Case Nos. A-570-073; C-570-074

(Mar. 23, 2021) at Exhibit SUPP-4, 76-3. Thus, the Domestic Industry Producers themselves

agree that heat-treated products to be outside the scope of the antidumping and countervailing

duty orders. Valeo’s product not only contains the added elements, such as copper and silicon,

which give the T-series aluminum sheet the chemical characteristics making it heat-treatable,

Valeo’s product also does not exceed the limitations set by the HTSUS for heat-treated out-of-

scope products. Commerce’s failure to meaningfully consider the Commission determination – a

required (k)(1) element – renders the determination unlawful.

        Given the above, Defendant’s assertion that Valeo’s complaint is moot must be

dismissed. The nature of Count One is to compel Commerce to issue a lawful k(1) scope ruling

or initiate a formal k(2) scope inquiry in accordance with the regulatory timeline. Commerce has

neither initiated a formal scope inquiry nor issued a lawful scope ruling.

       Count Two requests this Court to issue a declaratory judgment that Commerce’s

extensions of the regulatory deadline were ultra vires because Commerce lacked “good cause”

for the extensions and further inquiry was available to Commerce through initiation of a formal

scope inquiry under 19 C.F.R. § 351.225(e). Commerce has continued to refuse to issue a scope

determination in accordance with the law and has not articulated that a good cause exists for this

continued failure.

       Valeo has a “live” and “legally cognizable interest in the outcome” of both counts. See

Chafin v. Chafin, 568 U.S. 165, 172 (2013) (internal quotations and citations omitted).

Defendant’s only issue with the mootness of the claims is the jurisdictional basis for the claims.




                                                -9-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21     Page 10 of 68




With this motion Valeo seeks submission of amended Summons and Complaint to substitute the

jurisdictional basis for some of its current claims (i.e. Count One) that Commerce should have

issued a lawful scope ruling or initiated a formal scope inquiry and bring additional claims under

this Court’s jurisdiction in 28 U.S.C. § 1581(c) against the substance of the Decision

Memorandum. The Count Two claim that this Court should issue a declaratory judgment that

Commerce lacked “good cause” to extend the regulatory deadlines continues to be a legally

cognizable claim under § 1581(i) jurisdiction. The Declaratory Judgment Act does not establish

an independent grant of jurisdiction to the Court to review the subject matter of the action. PPG

Industries, Inc. v. United States, F. Supp. 650, 655 (Ct. Int’l Trade 1988). Rather, it provides

“for additional remedies where jurisdiction has already been confirmed by statute.” Id. (citations

omitted). That Commerce’s extensions lacked “good cause” is reviewable under 28 U.S.C. §

1581(i)(1)(D) which confers “exclusive jurisdiction” to the Court over “any civil action

commenced against the United States, its agencies, or its officers, that arises out of any law of

the United States providing for . . . administration and enforcement with respect to the matters

referred to in . . . subsections (a)–(h) of this section.” Commerce’s decisions to violate the

regulatory deadlines concern “{a} determination by the administering authority as to whether a

particular type of merchandise is within the class of kind of merchandise described in an existing

finding of dumping or antidumping or countervailing duty order.” See 19 U.S.C. §

1516a(a)(2)(B)(vi). Jurisdiction pursuant to 28 U.S.C. § 1581(c) and 19 U.S.C. §

1516a(a)(2)(B)(vi) concerning scope determinations is not available because Commerce’s

decisions to extend and not issue a scope ruling were the opposite of issuing a scope ruling that is

reviewable under § 1516a(a)(2)(B)(vi). Thus, the statute grants this Court with the section

1581(i) jurisdiction, and 28 U.S.C. § 2201(a) provides for the remedy in the form of a




                                                -10-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21     Page 11 of 68




declaratory judgment for the lack of good cause claim.

       B. Amended Summons and Complaint Will Serve Justice and the Judicial
          Economy

       Valeo moves to amend the Summons, Complaint, and Form 5 (informational statement)

pursuant to USCIT Rules 3(e) and 15(a) to substitute the jurisdictional basis for its claims and to

present new claims arising out of Commerce’s Decision Memorandum. With respect to the

counts, the proposed Amended Complaint retains the nature of both counts but expands on Count

One to include specific instances of Commerce’s determination being unlawful or unsupported

by substantial evidence. As discussed above, and argued by Defendant, “Once an adverse scope

ruling is obtained, a complaint may be filed with the CIT pursuant to that court’s jurisdiction

under § 1581(c).” Sunpreme Inc. v. United States, 892 F. 3d 1186, 1193 (Fed. Cir. 2018).

       Rule 3(e) of this Court states that this Court “may allow a summons to be amended at any

time on such terms as it deems just, unless it clearly appears that material prejudice would result

to the substantial rights of the party against whom the amendment is allowed.” Valeo would

continue suffering injustice in the form of delays if this Court were not to grant Valeo’s motion

to amend the jurisdictional basis for its claims that Commerce’s tardy scope ruling altered.

Without proper jurisdictional basis, Defendant’s motion to dismiss could proceed, resetting the

clock for Valeo to obtain relief once again. Of significance is that the jurisdictional basis in

Valeo’s complaint was not defective, rather Commerce’s tardy scope ruling alters the legal

analysis by making section 1581(c) jurisdiction available.

       USCIT Rule 15(a) states that this Court “should freely give leave when justice so

requires” to amend a pleading. USCIT R. 15(a)(2); see also Intrepid v. Pollock, 907 F.2d 1125,

1129 (Fed. Cir. 1990). This Court has stated that “{a}bsent any dilatory motive, undue cause for

delay, repeated failures to cure deficiencies by amendments, futility of amendment, or undue




                                                -11-
       Case 1:21-cv-00426-MAB Document 14               Filed 11/15/21     Page 12 of 68




prejudice to the opposing party, leave to amend should be liberally given.” Giorgio Foods, Inc.

v. United States, 515 F. Supp. 2d 1313, 1316-17 (Ct. Int’l Trade 2007) (citation omitted). As

discussed above, justice requires that Valeo be afforded relief from an unlawful scope ruling.

The issuance of the Commerce’s determination gives additional grounds for Valeo to challenge

the factual findings and the legal conclusions of that Scope Ruling. None of the Court’s

concerns in Giorgio Foods are present in this case. Thus, Valeo should be afforded the

opportunity to amend its Complaint and Form 5. Valeo’s claims arising out of the factual

findings and the legal conclusions of the Scope Ruling are timely because a plaintiff must

commence an action under 28 U.S.C. § 1581(c) within thirty days after mailing of the scope

ruling. 19 U.S.C. § 1516a(2). The Scope Ruling was mailed on October 15, 2021. Thus, this

Court should afford until November 15, 2021, the next business day after thirty days, for Valeo

to file its Amended Complaint and Summons. The proposed Amended Complaint, Summons,

and Form 5 are provided below.

       Amended Summons and Complaint will serve the judicial economy because this Court is

now familiar with some of the factual background of the controversy and a judge has been

assigned to the case.

       The amendments are summarized in the following chart.

 Amended Document                                            Page No.

 Summons                                                     Form 4 changed to Form 3

 Complaint                                                   All pages

 Form 5 Information Statement                                1, 2




                                               -12-
         Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21      Page 13 of 68




         C. Alternatively, Valeo Moves to Consolidate This Case with Court No. 21-00581

         Pursuant to USCIT Rule 42, Valeo respectfully requests that the Court consolidated the

following cases under the lead case, Valeo North America, Inc. v. United States, Court No. 21-

00426:

               Valeo North America, Inc. v. United States, Court No. 21-00426; and

               Valeo North America, Inc. v. United States, Court No. 21-00426.

         Valeo’s counsel consulted with counsel for Defendant United States concerning this

Motion.

         Pursuant to USCIT Rule 42, “{i}f actions before the court involve a common question of

law or fact, the court may: (1) join for hearing or trial any or all matters at issue in the actions;

(2) consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay.”

Court Nos. 21-00426 and 21-00581 challenge Commerce’s failure to issue a scope ruling based

upon Valeo’s application pursuant to 19 C.F.R. § 351.225(k)(1) or to initiate a formal scope

inquiry to consider the additional (k)(2) factors. The difference between the two actions is that

Court No. 21-00426 also challenges Commerce’s extensions for making a decision to be lacking

a good cause. Both Court Nos. involve common questions of law and fact. Consolidation of

these cases will reduce the number of duplicative filings and, therefore, will promote judicial

efficiency and conserve resources for the parties. Thus, we respectfully request that should the

Court deny Valeo’s motion for the amendments, this Court grant the motion for consolidation.




                                                  -13-
      Case 1:21-cv-00426-MAB Document 14   Filed 11/15/21      Page 14 of 68




                                     Respectfully submitted,




Dated: November 15, 2021
                                      Daniel Cannistra
                                      John Anwesen

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                                   -14-
       Case 1:21-cv-00426-MAB Document 14            Filed 11/15/21    Page 15 of 68




            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE

VALEO NORTH AMERICA, INC.,

                 Plaintiff,                       Court No. 21-00426

       v.

UNITED STATES OF AMERICA,

                 Defendant.



                                  {PROPOSED} ORDER

        Upon consideration of the Motion to Dismiss by Defendant United States, response of
Plaintiff, Valeo North America, Inc. (“Valeo”), Valeo’s Motion to Amend summons, complaint,
and Form 5, and Valeo’s Motion for the Consolidation of Court Nos. 21-00426 and 21-00581,
and all papers and proceedings herein, it is hereby

    ORDERED that Plaintiff’s motion to amend the summons, complaint, and Form 5 is
GRANTED;

      ORDERED that Plaintiff’s summons (ECF No. 1), complaint (ECF No. 2), and Form 5
(ECF No. 3) are replaced by the attached and revised Amended Summons, Amended Complaint,
and Amended Form 5;

       ORDERED that Plaintiff’s motion for the consolidation is DENIED; and it is further

       ORDERED that Defendant’s motion to dismiss is DENIED.



       SO ORDERED.



 Dated: ____________________, 2021             __________________________________
        New York, New York                      Honorable Mark A. Barnett, Chief Judge
       Case 1:21-cv-00426-MAB Document 14              Filed 11/15/21    Page 16 of 68




            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE

VALEO NORTH AMERICA, INC.,

                   Plaintiff,                      Court No. 21-00426

       v.

UNITED STATES OF AMERICA,

                   Defendant.



                                    {PROPOSED} ORDER

        Upon consideration of the Motion to Dismiss by Defendant United States, response of
Plaintiff, Valeo North America, Inc. (“Valeo”), Valeo’s Motion for the Consolidation of Court
Nos. 21-00426 and 21-00581, and Valeo’s Motion to Amend summons, complaint, and Form 5,
and all papers and proceedings herein, it is hereby

       ORDERED that Plaintiff’s motion for the consolidation is GRANTED;

        ORDERED that the following cases shall be consolidated under Valeo North America,
Inc. v. United States, Court No. 21-00426:

               Valeo North America, Inc. v. United States, Court No. 21-00426; and
               Valeo North America, Inc. v. United States, Court No. 21-00426;

       ORDERED that Plaintiff’s motion to amend is DENIED; and it is further

       ORDERED that Defendant’s motion to dismiss is DENIED.



       SO ORDERED.



 Dated: ____________________, 2021               __________________________________
        New York, New York                        Honorable Mark A. Barnett, Chief Judge
       Case 1:21-cv-00426-MAB Document 14                    Filed 11/15/21    Page 17 of 68




                                                                                        FORM 3-1
              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

VALEO NORTH AMERICA, INC.,

                    Plaintiff,                            AMENDED SUMMONS

       v.                                                 Court No. 21-00426

UNITED STATES OF AMERICA,

                    Defendant.



TO:    The Attorney General and the Department of Commerce:



       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28

U.S.C. § 1581(c) to contest the determination described below.


                                                        /s/ Mario Toscano
                                                        Clerk of the Court


1.    Valeo North America, Inc. (“Valeo”) is an importer of aluminum alloy sheet
      from China. Valeo participated in the scope proceeding that is the subject of
      this action through submission of the scope ruling requests, questionnaire
      responses, and arguments. Valeo therefore is an interested party and party to
      the proceeding within the meaning of 19 U.S.C. § 1677(9)(A) and has standing
      to bring this action under 28 U.S.C. § 2631(c) and 19 U.S.C. § 1516a(d).
       (Name and standing of plaintiff)

2.    Valeo certain aspects of Commerce’s unpublished decision memorandum. See
      Memorandum, from Frank Schmitt, Case Analyst, Office VI, AD/CVD
      Operations, to Scot Fullerton, Associate Deputy Assistant Secretary for
      Antidumping and Countervailing Duty Operations, Antidumping and
      Countervailing Duty Orders on Aluminum Sheet from the People’s Republic of
      China; Final Scope Ruling Determination: Valeo’s Heat-Treated T-Series
      Aluminum Sheet, Case Nos. A-570-073; C-570-074 (Oct. 15, 2021) (ACCESS
      Barcode: 4172205-01).
       (Brief description of contested determination)

3.    October 15, 2021
      Case 1:21-cv-00426-MAB Document 14                         Filed 11/15/21         Page 18 of 68



      (Date of determination)

4.   n/a
      (If applicable, date of publication in Federal Register of notice of contested determination)




Dated: November 15, 2021

                                                    Daniel Cannistra
                                                    CROWELL & MORING LLP
                                                    1001 Pennsylvania Avenue, N.W.
                                                    Washington, DC 20004-2595
                                                    Tel: 202.624.2902
                                                    E-mail: DCannistra@crowell.com
       Case 1:21-cv-00426-MAB Document 14               Filed 11/15/21     Page 19 of 68




                                                                                       FORM 3-2

                        SERVICE OF SUMMONS BY THE CLERK

         If this action, described in 28 U.S.C. § 1581(c), is commenced to contest a determination
listed in section 516A(a)(2) or (3) of the Tariff Act of 1930, the action is commenced by filing
a summons only, and the clerk of the court is required to make service of the summons. For that
purpose, list below the complete name and mailing address of each defendant to be served.


Attorney-in-Charge
International Trade Field Office
Commercial Litigation Branch
U.S. Department of Justice
26 Federal Plaza, Room 346
New York, New York 10278

Supervising Attorney Commercial
Litigation Branch Civil Division
U.S. Department of Justice
1100 L Street NW, Room 12124
Washington, DC 20530

General Counsel
U.S. Department of Commerce
1401 Constitution Avenue NW
Washington, DC 20230
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21     Page 20 of 68




              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

VALEO NORTH AMERICA, INC.,

                   Plaintiff,                         Court No. 21-00426

       v.

UNITED STATES OF AMERICA,

                   Defendant.



                                   AMENDED COMPLAINT

       Plaintiff, Valeo North America, Inc. (“Valeo”), a U.S. manufacturer of automotive

heating and cooling systems and an importer of certain heat-treated T-series aluminum sheet, by

and through its counsel, brings this action against the United States. Plaintiff alleges and states

as follows:

                                           Introduction

       1.      Valeo is part of the Valeo Group, a global designer, manufacturer and supplier of

auto parts with manufacturing facilities, research and design centers, and sales and distribution

offices in over thirty countries. In the United States, Valeo manufactures automotive heating and

cooling systems and imports certain heat-treated T-series aluminum sheet from the People’s

Republic of China (“China”) to manufacture components for automotive heat exchangers as well

as heat, ventilation and air conditioning systems.

       2.      Certain antidumping and countervailing duty orders cover certain aluminum

common alloy sheet from China. See Common Alloy Aluminum Sheet from the People’s

Republic of China, 84 Fed. Reg. 2,813 (Dep’t of Commerce February 8, 2019) (antidumping

duty order), and 84 Fed. Reg. 2,157 (Dep’t of Commerce February 6, 2019) (countervailing duty

order) (collectively, the “Orders”).
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 21 of 68




       3.      Within 45 days of the date of receipt of an application for a scope ruling,

Commerce is required by regulations to either (1) issue a final ruling under 19 C.F.R.

§351.225(d) (April 1, 2021), i.e., a ruling based upon the scope ruling application and

descriptions of merchandise referred to in 19 C.F.R. §351.225(k)(1), or (2) initiate a scope

inquiry under 19 C.F.R. §351.225(e), i.e., considering additional factors under 19 C.F.R.

§351.225(k)(2). See 19 C.F.R. §351.225(c)(2).

       4.      Valeo submitted a scope ruling request to the U.S. Department of Commerce

(“Commerce”), on May 1, 2020. demonstrating that heat-treated T-series sheet is outside the

scope of the Orders. See Letter from Crowell & Moring LLP to Sec’y of Commerce, Common

Alloy Aluminum Sheet from the People’s Republic of China: Request for Scope Ruling on Heat-

Treated T-Series Aluminum Sheet, Case Nos. A-570-073; C-570-074 (May 1, 2020) (ACCESS

Barcode: 3970516-01) (“1st Scope Ruling Request”).

       5.      On June 5, 2020, August 7, 2020, and March 24, 2021, Valeo provided

supplemental information to Commerce in response to inquiries from Commerce. See Letter

from Crowell & Moring LLP to Sec’y of Commerce, Common Alloy Aluminum Sheet from the

People’s Republic of China: Request for Scope Ruling on Heat-Treated T-Series Aluminum

Sheet, Case Nos. A-570-073; C-570-074 (June 5, 2020) (ACCESS Barcode: 3982800-01) (“2nd

Scope Ruling Request”); Letter from Crowell & Moring LLP to Sec’y of Commerce, Common

Alloy Aluminum Sheet from the People’s Republic of China: Request for Scope Ruling and

Response to Supplemental Questionnaire on Heat-Treated T-Series Aluminum Sheet, Case Nos.

A-570-073; C-570-074 (August 7, 2020) (ACCESS Barcode: 4013607-01) (“3rd Scope Ruling

Request”); Letter from Crowell & Moring LLP to Sec’y of Commerce, Common Alloy Aluminum

Sheet from the People's Republic of China: Request for Additional Information, Case Nos. A-




                                                -2-
           Case 1:21-cv-00426-MAB Document 14           Filed 11/15/21    Page 22 of 68




570-073; C-570-074 (March 23, 2021) (ACCESS Barcode: 4102655-01) (“4th Scope Ruling

Request”) (submitted after hours and considered to be a submission of March 24).

           6.   In response to Valeo’s scope ruling requests, Commerce neither issued a final

scope ruling based upon application and factors under 19 C.F.R. §351.225(k)(1) nor initiated a

formal scope inquiry to consider additional factors under 19 C.F.R. §351.225(k)(2) within the

required time limit. Instead, Commerce either rejected Valeo’s scope ruling requests, resetting

the 45-day deadline, or extended the deadline under 19 C.F.R. §351.302(b) (“Unless expressly

precluded by statute, {Commerce} may, for good cause, extend any time limit established by this

part.”).

           7.   On June 3, 2020, Commerce rejected Valeo’s first scope ruling application for

containing errors related to bracketing of business proprietary information, company

certification, and certificate of service. See Letter from Commerce to Crowell & Moring LLP,

Rejection of Requests for a Scope Inquiry on Heat-Treated T-Series Aluminum Sheet, Case Nos.

A-570-073; C-570-074 (June 3, 2020) (ACCESS Barcode: 3981743-01) (“1st Rejection of Scope

Ruling Request”).

           8.   On July 20, 2020, Commerce rejected Valeo’s second scope ruling application

filed on June 5, 2020, and issued supplemental questions for Valeo to respond to when

resubmitting its application. See Letter from Commerce to Crowell & Moring LLP, Common

Alloy Aluminum Sheet from the People’s Republic of China: Supplemental Questionnaire on

Heat-Treated T-Series Aluminum Sheet, Case Nos. A-570-073; C-570-074 (July 20, 2020)

(ACCESS Barcode: 4003318-01) (“2nd Rejection of Scope Ruling Request”). In its

supplemental questionnaire, Commerce stated that “the record of this scope inquiry does not

currently contain all information required to make a scope ruling.” Furthermore, Commerce




                                               -3-
       Case 1:21-cv-00426-MAB Document 14              Filed 11/15/21    Page 23 of 68




requested information concerning the “heat treatment and/or annealing process which the heat-

treated T-series aluminum sheet undergoes,” the “distinction between ‘heat treatment’ and

‘annealing’ for Valeo’s T-series aluminum sheet,” when heat-treatment or annealing occurs in

the production process, and whether in the production of heat-treated T-series aluminum sheet

“the temperature of the aluminum sheet {is} increased to temperatures at or above 850°

Fahrenheit.” Id. at 4.

       9.      On August 7, 2020, Valeo submitted its third scope ruling application and

included responses to Commerce’s supplemental questions. See 3rd Scope Ruling Request.

       10.     On September 18, 2020, Commerce extended the 45-day regulatory deadline by

45 days for “good cause.” See Letter from Commerce to Crowell & Moring LLP, Case Nos. A-

570-073; C-570-074 (Sept. 18, 2020) (ACCESS Barcode: 4029697-01) (extension of scope

ruling). On November 2, 2020, Commerce extended the deadline again by 45 days for “good

cause.” See Letter from Commerce to Crowell & Moring LLP, Case Nos. A-570-073; C-570-

074 (Nov. 2, 2020) (ACCESS Barcode: 4047583-01) (extension of scope ruling). On December

17, 2020, Commerce extended that deadline again by 45 days for “good cause” to February 3,

2021. See Letter from Commerce to Crowell & Moring LLP, Case Nos. A-570-073; C-570-074

(Dec. 17, 2020) (ACCESS Barcode: 4066396-01) (extension of scope ruling).

       11.     On February 3, 2021, Commerce again rejected Valeo’s scope ruling application

and issued another supplemental questionnaire to be submitted with the next application. See

Letter from Commerce to Crowell & Moring LLP, Common Alloy Aluminum Sheet from the

People’s Republic of China: Second Supplemental Questionnaire on Heat-Treated T-Series

Aluminum Sheet, Case Nos. A-570-073; C-570-074 (Feb. 3, 2021) (ACCESS Barcode: 4083979-

01) (“3rd Rejection of Scope Ruling Request”).




                                                 -4-
          Case 1:21-cv-00426-MAB Document 14               Filed 11/15/21      Page 24 of 68




          12.   Notwithstanding its failure to its failure to issue a scope ruling under 19 C.F.R. §

351.225(k)(1) or initiate a formal scope inquiry pursuant to 19 C.F.R. § 351.225(k)(2) as

required by its regulations, Commerce’s supplemental questions revealed that it had transitioned

into an analysis of the (k)(2) factors, e.g., the physical characteristics of the product. Id.

          13.   On March 24, 2021, Valeo submitted its fourth scope ruling application, this time

requesting a formal scope ruling for consideration of the factors under 19 C.F.R. §351.225(k)(2)

(“(k)(2)” factors). See 4th Scope Ruling Request.

          14.   Commerce extended its 45-day deadline for “good cause” three times: first on

May 10, again on June 22, and then yet again on August 6, 2021. See Letter from Commerce to

Crowell & Moring LLP, Case Nos. A-570-073; C-570-074 (May 10, 2021) (ACCESS Barcode:

4119631-01) (“1st Extension on 4th Scope Ruling Request”); Letter from Commerce to Crowell

& Moring LLP, Case Nos. A-570-073; C-570-074 (June 22, 2021) (ACCESS Barcode: 4135945-

01) (“2nd Extension on 4th Scope Ruling Request”);Letter from Commerce to Crowell & Moring

LLP, Case Nos. A-570-073; C-570-074 (Aug. 6, 2021) (ACCESS Barcode: 4150473-01) (“3rd

Extension on 4th Scope Ruling Request”). None of the extension letters detailed the basis for the

“good cause” justifying the extensions.

          15.   On August 17, 2021, Valeo filed its original Complaint with this Court

challenging Commerce’s lack of good cause for serially violating the regulatory deadlines that

resulted in an unreasonable delay of either the issuance of a scope ruling based upon the

application under 19 C.F.R. § 225(d) or the initiation of a scope inquiry under 19 C.F.R. §

225(e).

          16.   On September 20, 2021, Commerce extended the deadline again by 45 days for

“good cause” to November 4, 2021. See Letter from Commerce to Crowell & Moring LLP, Case




                                                  -5-
       Case 1:21-cv-00426-MAB Document 14                  Filed 11/15/21      Page 25 of 68




Nos. A-570-073; C-570-074 (Sept. 20, 2021) (ACCESS Barcode: 4162459-01) (“4th Extension

on 4th Scope Ruling Request”).

       17.     On October 15, 2021, Commerce issued a memorandum asserting that Valeo’s T-

series aluminum was in scope. Commerce’s determination was issued in an unpublished

memorandum. See Memorandum, from Frank Schmitt, Case Analyst, Office VI, AD/CVD

Operations, to Scot Fullerton, Associate Deputy Assistant Secretary for Antidumping and

Countervailing Duty Operations, Antidumping and Countervailing Duty Orders on Aluminum

Sheet from the People’s Republic of China; Final Scope Ruling Determination: Valeo’s Heat-

Treated T-Series Aluminum Sheet, Case Nos. A-570-073; C-570-074 (Oct. 15, 2021) (ACCESS

Barcode: 4172205-01) (“Decision Memorandum”).

                            Administrative Decision To Be Reviewed

       18.     Valeo brings this action to contest Commerce’s failure to issue a final scope

ruling based upon an application and (k)(1) factors and not to initiate a formal scope ruling to

consider (k)(2) factors within the regulatory time period.

       19.     Valeo also brings this action to contest Commerce’s four extensions of the

deadline to decide concerning Valeo’s fourth scope ruling request.

                                            Jurisdiction

       20.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(i)(1)(D),

which confers “exclusive jurisdiction” to the Court over “any civil action commenced against the

United States, its agencies, or its officers, that arises out of any law of the United States

providing for . . . administration and enforcement with respect to the matters referred to in . . .

subsections (a)–(h) of this section.” See 28 U.S.C. § 1581(i).




                                                  -6-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21   Page 26 of 68




       21.     Commerce’s extensions lacking good cause constituted an administration and

enforcement of a matter referred to in subsection (c) of 28 U.S.C. § 1581 (for actions

commenced under 19 U.S.C. § 1516a) because Commerce’s decisions concern “{a}

determination by the administering authority as to whether a particular type of merchandise is

within the class of kind of merchandise described in an existing finding of dumping or

antidumping or countervailing duty order.” See 19 U.S.C. § 1516a(a)(2)(B)(vi).

       22.     Jurisdiction pursuant to 28 U.S.C. § 1581(c) and 19 U.S.C. § 1516a(a)(2)(B)(vi)

concerning scope determinations is not available because Commerce’s decisions to extend and

not issue a scope ruling were the opposite of issuing a scope ruling that is reviewable under §

1516a(a)(2)(B)(vi).

                                             Standing

       23.     Valeo has standing under 28 U.S.C. § 2631(i) because it has been adversely

affected or aggrieved by Commerce’s decisions not to issue a timely scope determination based

upon Valeo’s scope ruling application and not to initiate a formal scope inquiry.

       24.     Valeo is an importer of aluminum alloy sheet from China. Valeo participated in

the scope proceeding that is the subject of this action through submission of the scope ruling

requests, questionnaire responses, and arguments. Valeo is therefore an interested party and

party to the proceeding within the meaning of 19 U.S.C. § 1677(9)(A) and has standing to bring

this action under 28 U.S.C. § 2631(c) and 19 U.S.C. § 1516a(d).

                                            Timeliness

       25.     A plaintiff must commence an action under 28 U.S.C. § 1581(i) “within two years

after the cause of action first accrues.” 28 U.S.C. § 2636(i).




                                                 -7-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 27 of 68




       26.     Valeo contests Commerce’s May 10, 2021, decisions (1) not to issue a timely

scope determination based upon Valeo’s fourth scope ruling request, including responses to two

prior supplemental questionnaires, and (2) not to initiate a formal scope inquiry to issue a scope

determination based upon the additional (k)(2) factors. Valeo also contests Commerce’s May

10, June 22, August 6, and September 20, 2021, decisions to extend the deadline for making a

decision concerning Valeo’s fourth scope ruling request.

       27.     This action is timely because it is filed within two years of May 10, June 22,

August 6, and September 20, 2021.

       28.     A plaintiff must commence an action under 28 U.S.C. § 1581(c) and 19 U.S.C. §

1516a(a)(2)(A)(ii) and (B)(vi) “{w}ithin thirty days after – the date of mailing of a determination

described in clause (vi) of subparagraph (B)” {i.e., a determination as to “whether a particular

type of merchandise is within the class or kind of merchandise”}. Commerce mailed its

determination on October 15, 2021. This action is timely because it is commenced within thirty

days of October 15, 2021, by filing the Form 3 summons with the clerk of the Court and

amended complaint.

                                           Background

       29.     Paragraphs 1 to 28 are incorporated herein by reference.

       30.     The Orders covering certain aluminum common alloy sheet from China were

issued in February 2019. The plain language of the Orders provides that the scope covers both

clad (i.e. multi-alloy) and un-clad aluminum sheet, but specifies that the covered un-clad sheet is

“manufactured from a 1XXX-, 3XXX-, or 5XXX-series alloy as designated by the Aluminum

Association,” and the covered clad sheet is produced from a 3XXX-series core, “to which

cladding layers are applied to either one or both sides of the core.” Common Alloy Aluminum




                                                -8-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 28 of 68




Sheet from the People’s Republic of China, 84 Fed. Reg. 2,813 (Dep’t of Commerce February 8,

2019) (antidumping duty order).

       31.     Valeo submitted four successive scope ruling requests arguing that its heat-treated

T-series aluminum sheet is not covered by the scope of the Orders because they are not

manufactured from a designated 1XXX-, 3XXX-, or 5XXX-series alloy. See 1st Scope Ruling

Request; 2nd Scope Ruling Request; 3rd Scope Ruling Request; 4th Scope Ruling Request.

Additionally, Valeo argued that heat-treated T-series aluminum sheet is not covered by the scope

of the Orders because the underlying investigation did not encompass alloys that are heat treated.

Id.

       32.     Valeo’s fourth scope ruling application included responses to two supplemental

questionnaires with detailed data regarding the physical properties of Valeo’s product, that are to

be analyzed pursuant to 19 CFR 351.225(k)(2)(i) (“{t}he physical characteristics of the

product”). The physical characteristics submitted by Valeo at the Department’s request extend

beyond the “descriptions of the merchandise” contained in the petition, the original investigation,

and prior de contained in the petition, the original investigation, and prior determinations by

Commerce (including prior scope determinations) and the U.S. International Trade Commission

(“Commission”) under 19 C.F.R. §351.225(k)(1). See 4th Scope Ruling Request.

       33.     Commerce refused to issue a scope ruling based upon Valeo’s application

pursuant to 19 C.F.R. § 351.225(k)(1) and yet also refused to initiate a formal scope inquiry to

consider the additional (k)(2) factors, notwithstanding the fact that it requested and analyzed

(k)(2) factors. See 1st Extension on 4th Scope Ruling Request; 2nd Extension on 4th Scope Ruling

Request; 3rd Extension on 4th Scope Ruling Request; 4th Extension on 4th Scope Ruing Request.




                                                -9-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 29 of 68




       34.     In its Decision Memorandum, Commerce determined that Valeo’s heat-treated T-

series aluminum sheet are clad sheet with a 3xxx-series core as designated by the Aluminum

Association and thus covered by the scope of the orders. Commerce engaged in extensive

analysis of the series of aluminum alloys designated by the Aluminum Association, distinctions

between clad and un-clad aluminum, and heat treated and non-heat-treated products, to reach its

determination that Valeo’s merchandise was subject to the Orders. Commerce relied on its

analysis of the physical characteristics of the product rather than simply relying on the

description and scope language, thus revealing that it was in fact conducting a “(k)(2)” analysis

despite not having initiated the requisite inquiry.

       35.     Commerce relied on the physical characteristics to interpret the terms of the scope

– not to determine whether Valeo’s products meets those terms.

       36.     Commerce also discussed the end use of the product, again suggesting a “(k)(2)”

analysis. Decision Memorandum at 20 (“Valeo also argues that its T-series aluminum sheet is an

intermediate product….”).

       37.     Commerce defined a “clad” product as one consisting of a core and

metallurgically bonded layers wherein some diffusion between the core and each layer takes

place. Id. at 12. Commerce then concluded that clad and “heat-treated” are mutually exclusive

but provided no support for this conclusion. Commerce misinterpret the associated technical

terms. What it defined as “cladding” is actually diffusion-annealing, which is not the same as

cladding.

       38.     Without determining the extent to which “some” diffusion converts clad into non-

clad alloy, Commerce found that Valeo’s heat-treated T-series aluminum sheet are clad because

the manganese content is higher near the center and the silicon content is higher near the surface




                                                 -10-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 30 of 68




of the product after the heat treatment. Id at 11. Commerce provided no explanation of how

these facts supported this conclusion.

       39.     Commerce found that the Aluminum Association does not have a 3xxx-series

alloy identical to Valeo’s product. Id. at 14.

       40.     Commerce interpreted that 3xxx-series alloy means any alloy with manganese as

the main alloying element. To make this interpretation, Commerce relied on the Aluminum

Association’s publications and declarations of the Vice President of Standards and Technology

for the Aluminum Association submitted by certain domestic producers in the proceeding at

issue. See Decision Memorandum at 11. Commerce conflated the terms “group” and “series” to

find that the first numerical digit designating a particular group based on primary alloying

element meant that all aluminum sheet with primarily that alloying element belong to the series.

Commerce also determined that “as designated by the Aluminum Association” also means to

include any aluminum sheet having major alloying element of manganese. Id. at 14-15.

       41.     Commerce determined that proprietary alloys can be classified by the Aluminum

Association. Id. at 13-14. Commerce, however, did not consider that the Aluminum Association

sets limits to what may be considered an “equivalent.” In the same publication upon which

Commerce relied, the Aluminum Association provided the limits for the variations for the

chemical elements. Valeo’s proprietary grade heat-treated T-series aluminum sheet does not

meet those parameters to be considered an equivalent. Commerce did not address these evidence

and argument, nor did it explain or even attempt to explain how Valeo’s product can be in scope

notwithstanding the fact that it is not manufactured from a designated 1XXX-, 3XXX-, or

5XXX-series alloy as required by the scope of the Orders.




                                                 -11-
       Case 1:21-cv-00426-MAB Document 14               Filed 11/15/21     Page 31 of 68




       42.     Commerce refused to consider the meaning or significance of the word

“common” in the applicable scope language. Id. at 21

       43.     In conjunction with the Commission investigation investigation, a preliminary

hearing was held before the International Trade Commission (“ITC”) in December 2017.

       44.     Valeo participated in the Commission’s hearing, testifying that its T-series were

not included within the scope of the Commission’s investigation and that it did not meet the 3xxx

specifications. Valeo’s testimony on these points was part of the administrative record.

       45.     At the Commission’s hearing, chemical specifications outlining the distinction

between excluded heat-treatable alloys and in-scope heat-treatable alloys was publicly presented.

       46.     In December 2018, Valeo filed a post-hearing brief reiterating the distinctions

between alloys included and excluded from the investigation.

       47.     At the conclusion of the investigation, the Commission unequivocally stated that

“{a}luminum sheet subject to these investigations are of 1XXX, 3XXX, and 5XXX series alloys

that are non-heat treatable.” See Common Alloy Aluminum Sheet from China, Inv. Nos. 701-TA-

591 and 731-TA-1399 (Final), USITC Pub. No. 4861 (Jan. 2019) at I-11, I-12 (emphasis added).

Additionally, the Commission stated that “heat-treated aluminum sheet (e.g., 6xxx alloy series) is

not covered by Commerce’s scope.” Id. (emphasis added).

       48.     At the conclusion of the investigation, new Harmonized Tariff Schedule of the

United States (“HTSUS”) subheadings were created to capture out-of-scope heat-treatable alloys.

HTSUS defines “heat-treatable” alloy as “aluminum containing by weight 3.0 percent or less of

magnesium and 3.0 percent or less of silicon, and/or are designated as series 6xxx in the

Aluminum Association’s specifications of registered alloy.” See Letter from Crowell & Moring




                                               -12-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21      Page 32 of 68




to Sec’y of Commerce, Request for Additional Information, Case Nos. A-570-073; C-570-074

(Mar. 23, 2021) at Exhibit SUPP-4, 76-3.

       49.     At the inception of a series of new investigations involving common alloys,

identically defined, the petition notes that HTSUS subheading 7606.12.3091 covers “imports of

out-of-scope heat-treatable sheet.” See Memorandum to the File, Factual Information Relevant

to the Final Scope Ruling Determination: Valeo’s Heat-Treated T-Series Aluminum Sheet, Case

Nos. A-570-073; C-570-074 (Oct. 15, 2021) at Attachment 6, p.11 and Exhibit GEN-3. This

subheading provides for “{h}eat-treatable industrial alloys” described in Statistical Note 6 to

Chapter 76, which is defined as “aluminum containing by weight 3.0 percent or less of

magnesium and 3.0 percent or less of silicon, and/or are designated as series 6xxx in the

Aluminum Association’s specifications of registered alloys.”

       50.     It is uncontested that Valeo’s T-series alloys meet the definition of a heat-

treatable alloy as defined in the HTSUS and confirmed by the petitioners as capturing out-of-

scope heat-treatable sheet.

       51.     Commerce failed to consider that the Commission excluded heat-treatable

aluminum sheet from its injury analysis and improperly disregarded the Commission’s

determination on the issue, finding that the two referenced statements are contradictory.

       52.     The Commission’s statements are not contradictory; rather, they yield the logical

conclusion that registered alloys prefaced with a 3 (i.e., not heat-treatable alloys) are included in

Commerce’s scope and the International Trade Commission’s injury analysis, but heat-treated

alloys that are not registered alloys (or variants thereof) are excluded from the International

Trade Commission’s injury analysis and the scope of the Orders.




                                                -13-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 33 of 68




       53.     The designation system cited by Commerce is inapplicable to unregistered alloys.

The header prefacing the grouping system cited by Commerce notes that “{a} numerical

designation assigned in conformance with this Recommendation should only be used to indicate

an aluminum or an aluminum alloy having chemical composition limits identical to those

registered with the Signatories to the Declaration of Accord on an International Alloy

Designation System for Wrought Aluminum and Wrought Aluminum Alloys. See 4th Scope

Ruling Request at Attachment III, Attachment 1, Exhibit 3, p.28 (emphasis added).

       54.     Commerce disregarded that header and instead wrongly applied the numerical

designation system to an alloy that does not feature chemical composition limits within the

parameters of those registered with the signatories.

       55.     Commerce stated that “Valeo has not demonstrated that ITC’s statement

regarding the scope of the Orders not covering heat-treatable alloys was applicable to 1xxx,

3xxx, and 5xxx-series alloys that the ITC explicitly stated were included in the scope of the

Orders.” Id. at 17-18. This presupposes that Valeo’s products fell within one of the enumerated

alloy series (which as noted above they did not) and at a minimum should have been examined in

the contest of a (k)(2) analysis.

                                    STATEMENT OF CLAIMS

                                            Count One

       56.     Paragraphs 1 to 55 are incorporated herein by reference.

       57.     Commerce concedes that it relied on information outside the (k)(1) factors and

cannot claim that it was merely soliciting information not dispositive to its determination.

       58.     The extensive discussion of heat-treatability demonstrates that the physical

characteristics of the product (a k(2) factor) were central to its analysis. Commerce’s




                                               -14-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 34 of 68




memorandum also discusses the end use of the product (“Valeo also argues that its T-series

aluminum sheet is an intermediate product…”). End-use, again, is a (k)(2) factor.

       59.     Pursuant to 19 C.F.R. § 351.225(e) and (k)(2), if Commerce finds that the issue of

whether a product is included within the scope of an order cannot be determined based solely

upon the application and the description of the merchandise in (k)(1) sources, Commerce is

obliged to initiate a scope inquiry.

       60.     Commerce’s failure to either rely on a (k)(1) analysis or initiate a scope inquiry to

consider the (k)(2) factors was not in accordance with the law.

                                           Count Two

       61.     While the (k)(1) sources may guide the interpretation, “they cannot substitute for

language in the order itself.” Duferco Steel, Inc. v. United States, 296 F. 3d 1087, 1097 (Fed.

Circ. 2002); see also Allegheny Bradford Corp. v. United States, 342 F. Supp. 2d 1172, 1183 (Ct.

Int'l Trade 2004) (holding that Commerce ‘“interpreted”’ the order contrary to its terms by

determining that beveled edges were not necessary for inclusion in the scope when the plain

language was clear that they were). Scope language must be read in a manner that is

“informative and non-superfluous.” King Supply Co. v. United States, 674 F.3d 1343, 1350

(Fed. Cir. 2012).

       62.     If a term is not defined in by the scope language, the common meaning applies.

See OMG, INC. v. United States, 972 F. 3d 1358, 1366 (Fed. Cir. 2020) (affirming U.S. Court of

International Trade’s reliance on dictionary definitions of a nail). Trade usage and industry

jargon terms could also be considered for discerning a common meaning. ArcelorMittal Stainless

Belgium N.V. v. United States, 694 F.3d 82, 88, n.8 (Fed. Cir. 2012) (“{C}onsideration of




                                               -15-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 35 of 68




industry jargon is not the same as conducting a full-fledged analysis of the factors embodied in

19 C.F.R. § 351.225(k)(2).”).

       63.     The plain language of the scope requires that aluminum sheet be “common” and

“designated” within “3xxx-series,” among others, by the Aluminum Association to be subject to

the Orders.

       64.     Commerce interpreted those terms in a way that is contrary to the Aluminum

Association’s publications, including those concerning “proprietary equivalents,” aided by

dictionary definition of “common,” which demonstrate that not all aluminum sheet with primary

alloying element of manganese is a 3xxx-series alloy. Indeed, the Aluminum Association itself

explicitly forecloses such as reading. Valeo’s T-series aluminum sheet is neither registered nor

registrable as a 3xxx-series alloy because it does meet the chemistry requirement to be

considered a proprietary equivalent as designated by the Aluminum Association.

       65.     Commerce’s decisions not to issue a scope ruling based upon Valeo’s fourth,

March 24, 2021, scope ruling application and the common meaning of the scope terms was not in

accordance with the law.

                                          Count Three

       66.     Paragraphs 1 to 65 are incorporated herein by reference.

       67.     Commerce’s regulations require that it consider the determinations of the

Commission. 19 C.F.R. 355.225(k)(1). “{A}llow{ing} Commerce to assess antidumping duties

on products intentionally omitted from the ITC’s injury investigation would frustrate the purpose

of the antidumping laws.” Ad Hoc Shrimp Trade Action Comm. v. United States, 515 F.3d 1372,

1380 (Fed. Cir. 2008) (citation omitted). “It is the responsibility of the agency, not those who




                                               -16-
        Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21    Page 36 of 68




initiated the proceedings, to determine the scope of the final orders.” Duferco Steel, 296 F.3d at

1097.

        68.     Commerce’s failure to account for the fact that the Commission determined that

heat-treat treated products were not covered by the scope of the orders was not in accordance

with the law.

                                           Count Four

        69.     Paragraphs 1 to 68 are incorporated herein by reference.

        70.     “Substantial evidence is more than a mere scintilla.” See Universal Camera v.

National Labor Relations Board, 340 U.S. 474, 477 (1951). “The substantiality of evidence

must take into account whatever in the record fairly detracts from its weight.” See Universal

Camera v. National Labor Relations Board, 340 U.S. 474, 488 (1951). Commerce referred to no

evidence on the record to support its finding that Valeo’s heat-treated T-series aluminum sheet

was not heat-treated. Record evidence contained exhaustive documentation and technical

information on this point, which was never rebutted. Moreover, Commerce’s own scope ruling

memorandum acknowledges that Valeo’s product at issue undergoes “thermal treatment.” Not

only there is ample evidence on the record that Valeo’s products are heat-treated, Commerce

does not provide any support to find that they are not.

        71.     “The reviewing court {}may not supply a reasoned basis for the agency’s action

that the agency itself has not given.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins.

Co., 463 U.S. 29, 43 (1983) (citation omitted). However, the reviewing court will “uphold a

decision of less than ideal clarity if the agency’s path may reasonably be discerned.” Id. at 43

(citation omitted).




                                               -17-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21      Page 37 of 68




       72.     Commerce found that Valeo’s heat-treated T-series aluminum was not heat-

treated by presuming that clad and heat-treated products are mutually exclusive, not attempting

to discern a definition of heat treatment, and shifting the burden to Valeo to demonstrate that its

product is heat-treated without explaining its understanding of that term.

       73.     Evidence on the record defines “heat-treated” and Valeo demonstrated that its T-

series aluminum sheet met those definitions.

       74.     Commerce’s determination that Valeo’s T-series aluminum sheet was not heat-

treated was not supported by substantial evidence and Commerce’s failure to define “heat-

treated” was contrary to law.

                                            Count Five

       75.     Paragraphs 1 to 74 are incorporated herein by reference.

       76.     Commerce determined that clad products include those with “some diffusion”

among the layers, and that “some diffusion” means any diffusion short of complete homogeneity.

       77.     Neither the scope language, the Aluminum Association publications, nor (k)(1)

factors support this interpretation.

       78.     Commerce’s interpretation of “clad” was contrary to the law.

                                            Count Six

       79.     Paragraphs 1 to 78 are incorporated herein by reference.

       80.     Although courts have allowed relying on industry jargon to assess whether a term

in the scope language is ambiguous, similar to relying on dictionary definitions, Commerce’s

analysis here went beyond interpretation of a common meaning of a term. ArcelorMittal

Stainless Belgium N.V. v. United States, 694 F.3d 82, 88, n.8 (Fed. Cir. 2012).




                                                -18-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21      Page 38 of 68




(“{C}onsideration of industry jargon is not the same as conducting a full-fledged analysis of the

factors embodied in 19 C.F.R. § 351.225(k)(2).”).

       81.     Commerce’s regulations provide for procedures to initiate formal scope inquiries

to consider (k)(2) factors. See 19 C.F.R. 351.225(e), (f) and (k)(2).

       82.     Commerce primarily relied upon various publications by the Aluminum

Association and declarations of the Vice President of Standards and Technology for the

Aluminum Association. Commerce relied on those sources to define various terms, such as

“clad,” “heat-treated,” and “3xxx-series.” Those are not appropriate regulatory (k)(1) sources.

       83.     Commerce’s analysis involved connecting various publications and declarations

in its attempt to discern a dispositive meaning. These declarations were not an appropriate (k)(1)

source because they are not the same type of publicly available sources, such as dictionary

definitions or scientific authorities, which define a common meaning. And, Commerce’s

analysis of the Aluminum Association publications went beyond defining a common meaning.

       84.     Alternatively, Commerce’s interpretations based on those sources were not

dispositive when considering contradicting evidence in the same sources.

       85.     Commerce’s failure to initiate a formal scope ruling pursuant to its regulations

was contrary the law.

                                           Count Seven

       86.     Paragraphs 1 to 85 are incorporated herein by reference.

       87.     The Declaratory Judgment Act authorizes any court of the United States to

“declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a). “Any such declaration

shall have the force and effect of a final judgment or decree and shall be reviewable as such.” Id.




                                                -19-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21     Page 39 of 68




       88.       Each of Commerce’s four decisions to extend the deadline for deciding whether to

issue a scope ruling based upon Valeo’s fourth, March 24, 2021, scope ruling application or

initiate a formal scope inquiry were claimed to be for a “good cause” pursuant to 19 C.F.R.

§351.302(b). See 1st Extension on 4th Scope Ruling Request; 2nd Extension on 4th Scope Ruling

Request; 3rd Extension on 4th Scope Ruling Request; 4th Extension on 4th Scope Ruling Request.

       89.       Commerce did not identify a good cause in each extension. Commerce only

provided a summary reasoning for the extension – “{i} light of issues concerning key terms used

in the scope of the Orders” or, as stated in the latest extension, “issues with the information

value provided to describe its product as part of its scope ruling application and large amount of

material.” Id.

       90.       Issues with the “key terms used in scope of the Orders” are not a good cause to

violate regulatory deadlines because issues with scope terms exist in virtually every scope ruling

request. Generally, that is why parties request a scope ruling – to “clarify the scope of an order.”

19 C.F.R. §351.225. If a good cause were to exist every time there were issues with the scope

terms, “good cause” would lose any meaning. Thus, Commerce lacked a good cause to extend

the regulatory deadline each of the three times.

       91.       Furthermore, the regulations envision that the issue may “warrant a further

inquiry” and provide for the appropriate mechanism for initiating an official scope inquiry when

Commerce cannot make its determination “based solely upon the application and the descriptions

of the merchandise referred to in paragraph (k)(1).” 19 C.F.R. §351.225(e). Thus, issues with

the scope terms are not a good cause for an extension but are a reason to initiate a formal scope

inquiry.




                                                -20-
       Case 1:21-cv-00426-MAB Document 14               Filed 11/15/21      Page 40 of 68




       92.     Valeo is therefore entitled to a declaratory judgment that Commerce’s extensions

of the regulatory deadline were ultra vires and contrary to law.

                         PRAYER FOR RELIEF AND JUDGMENT

       WHEREFORE, Valeo respectfully requests that the Court enter judgment:

               1. Declaring that Commerce’s May 10, June 22, August 6, and September 20,

                   2021, extensions of the regulatory 45-day time period – for either issuing a

                   scope ruling based upon application pursuant to 19 C.F.R. §351.225(d) or

                   initiating a formal scope inquiry pursuant to 19 C.F.R. §351.225(e) – were not

                   for a “good cause.”

               2. Holding that the Decision Memorandum is unsupported by substantial

                   evidence and not in accordance with law.

               3. Remanding Commerce’s determination at issue with instructions to issue a

                   new determination consistent with the Court’s opinion.

               4. Ordering Commerce to make a determination pursuant to 19 C.F.R.

                   §351.225(d) or initiate a formal scope inquiry pursuant 19 C.F.R. §351.225(e),

                   and conduct the scope inquiry according to the regulations in effect at the time

                   of the scope ruling application.

               5. Providing such other relief as this Court may deem just and proper.




                                               -21-
      Case 1:21-cv-00426-MAB Document 14   Filed 11/15/21      Page 41 of 68




                                     Respectfully submitted,




Dated: November 15, 2021
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                                      John Anwesen

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                                   -22-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21     Page 42 of 68




              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

VALEO NORTH AMERICA, INC.,

                   Plaintiff,                         Court No. 21-00426

       v.

UNITED STATES OF AMERICA,

                   Defendant.



                                   AMENDED COMPLAINT

       Plaintiff, Valeo North America, Inc. (“ValleoValeo”), a U.S. manufacturer of automotive

heating and cooling systems and an importer of certain heat-treated T-series aluminum sheet, by

and through its counsel, brings this action against the United States. Plaintiff alleges and states

as follows:

                                           Introduction

       1.      Valeo is part of the Valeo Group, a global designer, manufacturer and supplier of

auto parts with manufacturing facilities, research and design centers, and sales and distribution

offices in over thirty countries. In the United States, Valeo manufactures automotive heating and

cooling systems and imports certain heat-treated T-series aluminum sheet from the People’s

Republic of China (“China”) to manufacture components for automotive heat exchangers as well

as heat, ventilation and air conditioning systems.

       2.      Certain antidumping and countervailing duty orders cover certain aluminum

common alloy sheet from China. See Common Alloy Aluminum Sheet from the People’s

Republic of China, 84 Fed. Reg. 2,813 (Dep’t of Commerce February 8, 2019) (antidumping

duty order), and 84 Fed. Reg. 2,157 (Dep’t of Commerce February 6, 2019) (countervailing duty

order) (collectively, the “Orders”).
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 43 of 68




       3.      Within 45 days of the date of receipt of an application for a scope ruling,

Commerce is required by regulations to either (1) issue a final ruling under 19 C.F.R.

§351.225(d) (April 1, 2021), i.e., a ruling based upon the scope ruling application and

descriptions of merchandise referred to in 19 C.F.R. §351.225(k)(1), or (2) initiate a scope

inquiry under 19 C.F.R. §351.225(e), i.e., considering additional factors under 19 C.F.R.

§351.225(k)(2). See 19 C.F.R. §351.225(c)(2).

       3.4.    Valeo submitted a scope ruling request to the U.S. Department of Commerce

(“Commerce”), on May 1, 2020. demonstrating that heat-treated T-series sheet is outside the

scope of the Orders. See Letter from Crowell & Moring LLP to Sec’y of Commerce, Common

Alloy Aluminum Sheet from the People’s Republic of China: Request for Scope Ruling on Heat-

Treated T-Series Aluminum Sheet, Case Nos. A-570-073; C-570-074 (May 1, 2020) (ACCESS

Barcode: 3970516-01) (“1st Scope Ruling Request”).

       4.5.    On June 5, 2020, August 7, 2020, and March 24, 2021, Valeo provided

supplemental information to Commerce in response to inquiries from Commerce. See Letter

from Crowell & Moring LLP to Sec’y of Commerce, Common Alloy Aluminum Sheet from the

People’s Republic of China: Request for Scope Ruling on Heat-Treated T-Series Aluminum

Sheet, Case Nos. A-570-073; C-570-074 (June 5, 2020) (ACCESS Barcode: 3982800-01) (“2nd

Scope Ruling Request”); Letter from Crowell & Moring LLP to Sec’y of Commerce, Common

Alloy Aluminum Sheet from the People’s Republic of China: Request for Scope Ruling and

Response to Supplemental Questionnaire on Heat-Treated T-Series Aluminum Sheet, Case Nos.

A-570-073; C-570-074 (August 7, 2020) (ACCESS Barcode: 4013607-01) (“3rd Scope Ruling

Request”); Letter from Crowell & Moring LLP to Sec’y of Commerce, Common Alloy Aluminum

Sheet from the People's Republic of China: Request for Additional Information, Case Nos. A-




                                                -2-
           Case 1:21-cv-00426-MAB Document 14               Filed 11/15/21     Page 44 of 68




570-073; C-570-074 (March 23, 2021) (ACCESS Barcode: 4102655-01) (“4th Scope Ruling

Request”) (submitted after hours and considered to be a submission of March 24).

           5.1.   Within 45 days of the date of receipt of an application for a scope ruling,

Commerce is required by regulations to either (1) issue a final ruling under 19 C.F.R.

§351.225(d), i.e. a ruling based upon the scope ruling application and descriptions of

merchandise referred to in 19 C.F.R. §351.225(k)(1), or (2) initiate a scope inquiry under 19

C.F.R. §351.225(e), i.e. considering additional factors under 19 C.F.R. §351.225(k)(2). See 19

C.F.R. §351.225(c)(2).

           6.     In response to Valeo’s scope ruling requests, Commerce neither issued a final

scope ruling based upon application and factors under 19 C.F.R. §351.225(k)(1) nor initiated a

formal scope inquiry to consider additional factors under 19 C.F.R. §351.225(k)(2) within the

required time limit. Instead, Commerce either rejected Valeo’s scope ruling requests, resetting

the 45-day deadline, or extended the deadline under 19 C.F.R. §351.302(b) (“Unless expressly

precluded by statute, {Commerce} may, for good cause, extend any time limit established by this

part.”).

           7.     On June 3, 2020, Commerce rejected Valeo’s first scope ruling application for

containing errors related to bracketing of business proprietary information, company

certification, and certificate of service. See Letter from Commerce to Crowell & Moring LLP,

Rejection of Requests for a Scope Inquiry on Heat-Treated T-Series Aluminum Sheet, Case Nos.

A-570-073; C-570-074 (June 3, 2020) (ACCESS Barcode: 3981743-01) (“1st Rejection of Scope

Ruling Request”).

           8.     On July 20, 2020, Commerce rejected Valeo’s second scope ruling application

filed on June 5, 2020, and issued supplemental questions for Valeo to respond to when




                                                   -3-
       Case 1:21-cv-00426-MAB Document 14              Filed 11/15/21     Page 45 of 68




resubmitting its application. See Letter from Commerce to Crowell & Moring LLP, Common

Alloy Aluminum Sheet from the People’s Republic of China: Supplemental Questionnaire on

Heat-Treated T-Series Aluminum Sheet, Case Nos. A-570-073 C-570-074 (July 20, 2020)

(ACCESS Barcode: 4003318-01) (“2nd Rejection of Scope Ruling Request”).A-570-073; C-570-

074 (July 20, 2020) (ACCESS Barcode: 4003318-01) (“2nd Rejection of Scope Ruling Request”).

In its supplemental questionnaire, Commerce stated that “the record of this scope inquiry does

not currently contain all information required to make a scope ruling.” Furthermore, Commerce

requested information concerning the “heat treatment and/or annealing process which the heat-

treated T-series aluminum sheet undergoes,” the “distinction between ‘heat treatment’ and

‘annealing’ for Valeo’s T-series aluminum sheet,” when heat-treatment or annealing occurs in

the production process, and whether in the production of heat-treated T-series aluminum sheet

“the temperature of the aluminum sheet {is} increased to temperatures at or above 850°

Fahrenheit.” Id. at 4.

       9.      On August 7, 2020, Valeo submitted its third scope ruling application and

included responses to Commerce’s supplemental questions on its second scope ruling

application.. See 3rd Scope Ruling Request.

       10.     On September 18, 2020, Commerce extended the 45-day regulatory deadline by

45 days for “good cause.” See Letter from Commerce to Crowell & Moring LLP, Case Nos. A-

570-073; C-570-074 (Sept. 18, 2020) (ACCESS Barcode: 4029697-01) (extension of scope

ruling). On November 2, 2020, Commerce extended the deadline again by 45 days for “good

cause.” See Letter from Commerce to Crowell & Moring LLP, Case Nos. A-570-073; C-570-

074 (Nov. 2, 2020) (ACCESS Barcode: 4047583-01) (extension of scope ruling). On December

17, 2020, Commerce extended that deadline again by 45 days for “good cause” to February 3,




                                               -4-
        Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21      Page 46 of 68




2021. See Letter from Commerce to Crowell & Moring LLP, Case Nos. A-570-073; C-570-074

(Dec. 17, 2020) (ACCESS Barcode: 4066396-01) (extension of scope ruling).

        10.11. On February 3, 2021, Commerce again rejected Valeo’s scope ruling application

and issued another supplemental questionnaire to be submitted with the next application. See

Letter from Commerce to Crowell & Moring LLP, Common Alloy Aluminum Sheet from the

People’s Republic of China: Second Supplemental Questionnaire on Heat-Treated T-Series

Aluminum Sheet, Case Nos. A-570-073; C-570-074 (Feb. 3, 2021) (ACCESS Barcode: 4083979-

01) (“3rd Rejection of Scope Ruling Request”).

        11.12. Notwithstanding its failure to initiationits failure to issue a scope proceeding,

Commerce was no longer considering the factorsruling under 19 C.F.R. § 351.225(k)(1) to be

dispositive becauseor initiate a formal scope inquiry pursuant to 19 C.F.R. § 351.225(k)(2) as

required by its regulations, Commerce’s supplemental questions revealed that it had transitioned

into an analysis underof the (k)(2) factors, e.g., the (k)(2) factors.physical characteristics of the

product. Id.

        12.13. On March 24, 2021, Valeo submitted its fourth scope ruling application, this time

requesting a formal scope ruling for consideration of the factors under 19 C.F.R. §351.225(k)(2)

(“(k)(2)” factors) but also reiterating that the case can be decided under the plain language of the

scope of the Orders and analysis of factors under 19 C.F.R. §351.225(k)(1) (“(k)(1)” factors).).

See 4th Scope Ruling Request.

        13.14. On May 10, 2021, Commerce extended theits 45-day deadline by 45 days for

“good cause.”” three times: first on May 10, again on June 22, and then yet again on August 6,

2021.   See Letter from Commerce to Crowell & Moring LLP, Case Nos. A-570-073; C-570-074

(May 10, 2021) (ACCESS Barcode: 4119631-01) (“1st Extension on 4th Scope Ruling Request”)




                                                  -5-
          Case 1:21-cv-00426-MAB Document 14             Filed 11/15/21      Page 47 of 68




(Forty-five days after March 24, 2021, is May 8, 2021; however, because that date was a

Saturday, the deadline became Monday, May 10, 2021.). On June 22, 2021, Commerce

extended the deadline again by 45 days for “good cause.” See”); Letter from Commerce to

Crowell & Moring LLP, Case Nos. A-570-073; C-570-074 (June 22, 2021) (ACCESS Barcode:

4135945-01) (“2nd Extension on 4th Scope Ruling Request”). On August 6, 2021, Commerce

extended the deadline again by 45 days for “good cause” to September 20, 2021. See ”);Letter

from Commerce to Crowell & Moring LLP, Case Nos. A-570-073; C-570-074 (Aug. 6, 2021)

(ACCESS Barcode: 4150473-01) (“3rd Extension on 4th Scope Ruling Request”). None of the

extension letters detailed the basis for the “good cause” justifying the extensions.

          15.   On August 17, 2021, Valeo filed its original Complaint with this Court

challenging Commerce’s lack of good cause for serially violating the regulatory deadlines that

resulted in an unreasonable delay of either the issuance of a scope ruling based upon the

application under 19 C.F.R. § 225(d) or the initiation of a scope inquiry under 19 C.F.R. §

225(e).

          16.   On September 20, 2021, Commerce extended the deadline again by 45 days for

“good cause” to November 4, 2021. See Letter from Commerce to Crowell & Moring LLP, Case

Nos. A-570-073; C-570-074 (Sept. 20, 2021) (ACCESS Barcode: 4162459-01) (“4th Extension

on 4th Scope Ruling Request”).

          17.   On October 15, 2021, Commerce issued a memorandum asserting that Valeo’s T-

series aluminum was in scope. Commerce’s determination was issued in an unpublished

memorandum. See Memorandum, from Frank Schmitt, Case Analyst, Office VI, AD/CVD

Operations, to Scot Fullerton, Associate Deputy Assistant Secretary for Antidumping and

Countervailing Duty Operations, Antidumping and Countervailing Duty Orders on Aluminum




                                                -6-
       Case 1:21-cv-00426-MAB Document 14                  Filed 11/15/21      Page 48 of 68




Sheet from the People’s Republic of China; Final Scope Ruling Determination: Valeo’s Heat-

Treated T-Series Aluminum Sheet, Case Nos. A-570-073; C-570-074 (Oct. 15, 2021) (ACCESS

Barcode: 4172205-01) (“Decision Memorandum”).

                            Administrative Decision To Be Reviewed

       14.18. Valeo brings this action to contest Commerce’s failure to issue a final scope

ruling based upon an application and (k)(1) factors and not to initiate a formal scope ruling to

consider (k)(2) factors within the regulatory time period.

       15.19. Valeo also brings this action to contest Commerce’s threefour extensions of the

deadline to decide concerning Valeo’s fourth scope ruling request.

                                            Jurisdiction

       16.20. The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(i)(1)(D),

which confers “exclusive jurisdiction” to the Court over “any civil action commenced against the

United States, its agencies, or its officers, that arises out of any law of the United States

providing for . . . administration and enforcement with respect to the matters referred to in . . .

subsections (a)–(h) of this section.” See 28 U.S.C. § 1581(i).

       17.21. Commerce’s above-described decisionsextensions lacking good cause constituted

an administration and enforcement of a matter referred to in subsection (c) of 28 U.S.C. § 1581

(for actions commenced under 19 U.S.C. § 1516a) because Commerce’s decisions concern “{a}

determination by the administering authority as to whether a particular type of merchandise is

within the class of kind of merchandise described in an existing finding of dumping or

antidumping or countervailing duty order.” See 19 U.S.C. § 1516a(a)(2)(B)(vi).

       18.22. None of the other statutory provisions for the Court’s jurisdiction apply to this

action. Particularly, jurisdictionJurisdiction pursuant to 28 U.S.C. § 1581(c) and 19 U.S.C. §




                                                  -7-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21    Page 49 of 68




1516a(a)(2)(B)(vi) concerning scope determinations is not available because Commerce’s

decisions challenged in this action were to extend and not issue a scope determination and

because ruling were the decisions were not mailed pursuant to 19 U.S.C.opposite of issuing a

scope ruling that is reviewable under § 1516a(a)(2)(A)(iiB)(vi).

                                             Standing

       19.23. Valeo has standing under 28 U.S.C. § 2631(i) because it has been adversely

affected or aggrieved by Commerce’s decisions not to issue a timely scope determination based

upon Valeo’s scope ruling application and not to initiate a formal scope inquiry.

       24.     Valeo is an importer of aluminum alloy sheet from China. Valeo participated in

the scope proceeding that is the subject of this action through submission of the scope ruling

requests, questionnaire responses, and arguments. Valeo is therefore an interested party and

party to the proceeding within the meaning of 19 U.S.C. § 1677(9)(A) and has standing to bring

this action under 28 U.S.C. § 2631(c) and 19 U.S.C. § 1516a(d).

                                            Timeliness

       20.25. A plaintiff must commence an action under 28 U.S.C. § 1581(i) “within two years

after the cause of action first accrues.” 28 U.S.C. § 2636(i).

       21.26. Valeo contests Commerce’s May 10, 2021, decisions (1) not to issue a timely

scope determination based upon Valeo’s fourth scope ruling request, including responses to two

prior supplemental questionnaires, and (2) not to initiate a formal scope inquiry to issue a scope

determination based upon the additional (k)(2) factors. Valeo also contests Commerce’s May

10, June 22, and August 6, and September 20, 2021, decisions to extend the deadline for making

a decision concerning Valeo’s fourth scope ruling request.




                                                 -8-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 50 of 68




       22.27. This action is timely because it is filed within two years of May 10, 2021, June

22, and August 6, and September 20, 2021.

       28.     A plaintiff must commence an action under 28 U.S.C. § 1581(c) and 19 U.S.C. §

1516a(a)(2)(A)(ii) and (B)(vi) “{w}ithin thirty days after – the date of mailing of a determination

described in clause (vi) of subparagraph (B)” {i.e., a determination as to “whether a particular

type of merchandise is within the class or kind of merchandise”}. Commerce mailed its

determination on October 15, 2021. This action is timely because it is commenced within thirty

days of October 15, 2021, by filing the Form 3 summons with the clerk of the Court and

amended complaint.

                                           Background

       23.29. Paragraphs 1 to 2228 are incorporated herein by reference.

       24.30. The Orders covering certain aluminum common alloy sheet from China were

issued in February 2019. The plain language of the Orders provides that the scope covers both

clad (i.e. multi-alloy) and not un-clad aluminum sheet, but specifies that the covered not un-clad

sheet is “manufactured from a 1XXX-, 3XXX-, or 5XXX-series alloy as designated by the

Aluminum Association,” and the covered clad sheet is produced from a 3XXX-series core, “to

which cladding layers are applied to either one or both sides of the core.” Common Alloy

Aluminum Sheet from the People’s Republic of China, 84 Fed. Reg. 2,813 (Dep’t of Commerce

February 8, 2019) (antidumping duty order).

       25.31. Valeo submitted four successive scope ruling requests arguing that its heat-treated

T-series aluminum sheet is not covered by the scope of the Orders because they are not

manufactured from a designated 1XXX-, 3XXX-, or 5XXX-series alloy. See 1st Scope Ruling

Request; 2nd Scope Ruling Request; 3rd Scope Ruling Request; 4th Scope Ruling Request.




                                                -9-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21      Page 51 of 68




Additionally, Valeo argued that heat-treated T-series aluminum sheet is not covered by the scope

of the Orders because the underlying investigation indicates that the Orders would cover only

thosedid not encompass alloys that are not heat- treated and non-heat treatable. Id.

       26.32. Valeo’s fourth scope ruling application included responses to two supplemental

questionnaires with detailed questionsdata regarding the physical properties of Valeo’s product,

whichthat are more properlyto be analyzed underpursuant to 19 CFR 351.225(k)(2)(i) (“{t}he

physical characteristics of the product”) that goes”). The physical characteristics submitted by

Valeo at the Department’s request extend beyond the “descriptions of the merchandise”

contained in the petition, the original investigation, and prior de contained in the petition, the

original investigation, and prior determinations by Commerce (including prior scope

determinations) and the U.S. International Trade Commission (“Commission”) under 19 C.F.R.

§351.225(k)(1). See 4th Scope Ruling Request.

       27.33. Commerce refused to issue a scope ruling based upon Valeo’s application

andpursuant to 19 C.F.R. § 351.225(k)(1) and yet also refused to initiate a formal scope inquiry

to consider the additional (k)(2) factors, notwithstanding the fact that it requested and analyzed

(k)(2) factors. See 1st Extension on 4th Scope Ruling Request; 2nd Extension on 4th Scope Ruling

Request; 3rd Extension on 4th Scope Ruling Request.; 4th Extension on 4th Scope Ruing Request.

       34.     In its Decision Memorandum, Commerce determined that Valeo’s heat-treated T-

series aluminum sheet are clad sheet with a 3xxx-series core as designated by the Aluminum

Association and thus covered by the scope of the orders. Commerce engaged in extensive

analysis of the series of aluminum alloys designated by the Aluminum Association, distinctions

between clad and un-clad aluminum, and heat treated and non-heat-treated products, to reach its

determination that Valeo’s merchandise was subject to the Orders. Commerce relied on its




                                                 -10-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 52 of 68




analysis of the physical characteristics of the product rather than simply relying on the

description and scope language, thus revealing that it was in fact conducting a “(k)(2)” analysis

despite not having initiated the requisite inquiry.

       35.     Commerce relied on the physical characteristics to interpret the terms of the scope

– not to determine whether Valeo’s products meets those terms.

       36.     Commerce also discussed the end use of the product, again suggesting a “(k)(2)”

analysis. Decision Memorandum at 20 (“Valeo also argues that its T-series aluminum sheet is an

intermediate product….”).

       37.     Commerce defined a “clad” product as one consisting of a core and

metallurgically bonded layers wherein some diffusion between the core and each layer takes

place. Id. at 12. Commerce then concluded that clad and “heat-treated” are mutually exclusive

but provided no support for this conclusion. Commerce misinterpret the associated technical

terms. What it defined as “cladding” is actually diffusion-annealing, which is not the same as

cladding.

       38.     Without determining the extent to which “some” diffusion converts clad into non-

clad alloy, Commerce found that Valeo’s heat-treated T-series aluminum sheet are clad because

the manganese content is higher near the center and the silicon content is higher near the surface

of the product after the heat treatment. Id at 11. Commerce provided no explanation of how

these facts supported this conclusion.

       39.     Commerce found that the Aluminum Association does not have a 3xxx-series

alloy identical to Valeo’s product. Id. at 14.

       40.     Commerce interpreted that 3xxx-series alloy means any alloy with manganese as

the main alloying element. To make this interpretation, Commerce relied on the Aluminum




                                                 -11-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 53 of 68




Association’s publications and declarations of the Vice President of Standards and Technology

for the Aluminum Association submitted by certain domestic producers in the proceeding at

issue. See Decision Memorandum at 11. Commerce conflated the terms “group” and “series” to

find that the first numerical digit designating a particular group based on primary alloying

element meant that all aluminum sheet with primarily that alloying element belong to the series.

Commerce also determined that “as designated by the Aluminum Association” also means to

include any aluminum sheet having major alloying element of manganese. Id. at 14-15.

       41.     Commerce determined that proprietary alloys can be classified by the Aluminum

Association. Id. at 13-14. Commerce, however, did not consider that the Aluminum Association

sets limits to what may be considered an “equivalent.” In the same publication upon which

Commerce relied, the Aluminum Association provided the limits for the variations for the

chemical elements. Valeo’s proprietary grade heat-treated T-series aluminum sheet does not

meet those parameters to be considered an equivalent. Commerce did not address these evidence

and argument, nor did it explain or even attempt to explain how Valeo’s product can be in scope

notwithstanding the fact that it is not manufactured from a designated 1XXX-, 3XXX-, or

5XXX-series alloy as required by the scope of the Orders.

       42.     Commerce refused to consider the meaning or significance of the word

“common” in the applicable scope language. Id. at 21

       43.     In conjunction with the Commission investigation investigation, a preliminary

hearing was held before the International Trade Commission (“ITC”) in December 2017.

       44.     Valeo participated in the Commission’s hearing, testifying that its T-series were

not included within the scope of the Commission’s investigation and that it did not meet the 3xxx

specifications. Valeo’s testimony on these points was part of the administrative record.




                                               -12-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 54 of 68




       45.     At the Commission’s hearing, chemical specifications outlining the distinction

between excluded heat-treatable alloys and in-scope heat-treatable alloys was publicly presented.

       46.     In December 2018, Valeo filed a post-hearing brief reiterating the distinctions

between alloys included and excluded from the investigation.

       47.     At the conclusion of the investigation, the Commission unequivocally stated that

“{a}luminum sheet subject to these investigations are of 1XXX, 3XXX, and 5XXX series alloys

that are non-heat treatable.” See Common Alloy Aluminum Sheet from China, Inv. Nos. 701-TA-

591 and 731-TA-1399 (Final), USITC Pub. No. 4861 (Jan. 2019) at I-11, I-12 (emphasis added).

Additionally, the Commission stated that “heat-treated aluminum sheet (e.g., 6xxx alloy series) is

not covered by Commerce’s scope.” Id. (emphasis added).

       48.     At the conclusion of the investigation, new Harmonized Tariff Schedule of the

United States (“HTSUS”) subheadings were created to capture out-of-scope heat-treatable alloys.

HTSUS defines “heat-treatable” alloy as “aluminum containing by weight 3.0 percent or less of

magnesium and 3.0 percent or less of silicon, and/or are designated as series 6xxx in the

Aluminum Association’s specifications of registered alloy.” See Letter from Crowell & Moring

to Sec’y of Commerce, Request for Additional Information, Case Nos. A-570-073; C-570-074

(Mar. 23, 2021) at Exhibit SUPP-4, 76-3.

       49.     At the inception of a series of new investigations involving common alloys,

identically defined, the petition notes that HTSUS subheading 7606.12.3091 covers “imports of

out-of-scope heat-treatable sheet.” See Memorandum to the File, Factual Information Relevant

to the Final Scope Ruling Determination: Valeo’s Heat-Treated T-Series Aluminum Sheet, Case

Nos. A-570-073; C-570-074 (Oct. 15, 2021) at Attachment 6, p.11 and Exhibit GEN-3. This

subheading provides for “{h}eat-treatable industrial alloys” described in Statistical Note 6 to




                                               -13-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21      Page 55 of 68




Chapter 76, which is defined as “aluminum containing by weight 3.0 percent or less of

magnesium and 3.0 percent or less of silicon, and/or are designated as series 6xxx in the

Aluminum Association’s specifications of registered alloys.”

       50.     It is uncontested that Valeo’s T-series alloys meet the definition of a heat-

treatable alloy as defined in the HTSUS and confirmed by the petitioners as capturing out-of-

scope heat-treatable sheet.

       51.     Commerce failed to consider that the Commission excluded heat-treatable

aluminum sheet from its injury analysis and improperly disregarded the Commission’s

determination on the issue, finding that the two referenced statements are contradictory.

       52.     The Commission’s statements are not contradictory; rather, they yield the logical

conclusion that registered alloys prefaced with a 3 (i.e., not heat-treatable alloys) are included in

Commerce’s scope and the International Trade Commission’s injury analysis, but heat-treated

alloys that are not registered alloys (or variants thereof) are excluded from the International

Trade Commission’s injury analysis and the scope of the Orders.

       53.     The designation system cited by Commerce is inapplicable to unregistered alloys.

The header prefacing the grouping system cited by Commerce notes that “{a} numerical

designation assigned in conformance with this Recommendation should only be used to indicate

an aluminum or an aluminum alloy having chemical composition limits identical to those

registered with the Signatories to the Declaration of Accord on an International Alloy

Designation System for Wrought Aluminum and Wrought Aluminum Alloys. See 4th Scope

Ruling Request at Attachment III, Attachment 1, Exhibit 3, p.28 (emphasis added).




                                                -14-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 56 of 68




       54.     Commerce disregarded that header and instead wrongly applied the numerical

designation system to an alloy that does not feature chemical composition limits within the

parameters of those registered with the signatories.

       55.     Commerce stated that “Valeo has not demonstrated that ITC’s statement

regarding the scope of the Orders not covering heat-treatable alloys was applicable to 1xxx,

3xxx, and 5xxx-series alloys that the ITC explicitly stated were included in the scope of the

Orders.” Id. at 17-18. This presupposes that Valeo’s products fell within one of the enumerated

alloy series (which as noted above they did not) and at a minimum should have been examined in

the contest of a (k)(2) analysis.

                                    STATEMENT OF CLAIMS

                                            Count One

       28.56. Paragraphs 1 to 2755 are incorporated herein by reference.

       57.     Commerce concedes that it relied on information outside the (k)(1) factors and

cannot claim that it was merely soliciting information not dispositive to its determination.

       58.     The extensive discussion of heat-treatability demonstrates that the physical

characteristics of the product (a k(2) factor) were central to its analysis. Commerce’s

memorandum also discusses the end use of the product (“Valeo also argues that its T-series

aluminum sheet is an intermediate product…”). End-use, again, is a (k)(2) factor.

       59.     Pursuant to 19 C.F.R. § 351.225(e) and (k)(2), if Commerce finds that the issue of

whether a product is included within the scope of an order cannot be determined based solely

upon the application and the description of the merchandise in (k)(1) sources, Commerce is

obliged to initiate a scope inquiry.




                                               -15-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21     Page 57 of 68




       60.     Commerce’s failure to either rely on a (k)(1) analysis or initiate a scope inquiry to

consider the (k)(2) factors was not in accordance with the law.

                                             Count Two

       29.     Under 28 U S.C. § 1581(i) jurisdiction, the Court must “compel agency action

unlawfully withheld or unreasonably delayed.” See 5 U.S.C. § 706; see also 28 U S C § 2640(e)

(“In any civil action not specified in this section, the Court of International Trade shall review

the matter as provided in section 706 of title 5.”).

       61.     While the (k)(1) sources may guide the interpretation, “they cannot substitute for

language in the order itself.” Duferco Steel, Inc. v. United States, 296 F. 3d 1087, 1097 (Fed.

Circ. 2002); see also Allegheny Bradford Corp. v. United States, 342 F. Supp. 2d 1172, 1183 (Ct.

Int'l Trade 2004) (holding that Commerce ‘“interpreted”’ the order contrary to its terms by

determining that beveled edges were not necessary for inclusion in the scope when the plain

language was clear that they were). Scope language must be read in a manner that is

“informative and non-superfluous.” King Supply Co. v. United States, 674 F.3d 1343, 1350

(Fed. Cir. 2012).

       62.     If a term is not defined in by the scope language, the common meaning applies.

See OMG, INC. v. United States, 972 F. 3d 1358, 1366 (Fed. Cir. 2020) (affirming U.S. Court of

International Trade’s reliance on dictionary definitions of a nail). Trade usage and industry

jargon terms could also be considered for discerning a common meaning. ArcelorMittal Stainless

Belgium N.V. v. United States, 694 F.3d 82, 88, n.8 (Fed. Cir. 2012) (“{C}onsideration of

industry jargon is not the same as conducting a full-fledged analysis of the factors embodied in

19 C.F.R. § 351.225(k)(2).”).




                                                 -16-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21     Page 58 of 68




       63.     The plain language of the scope requires that aluminum sheet be “common” and

“designated” within “3xxx-series,” among others, by the Aluminum Association to be subject to

the Orders.

       64.     Commerce interpreted those terms in a way that is contrary to the Aluminum

Association’s publications, including those concerning “proprietary equivalents,” aided by

dictionary definition of “common,” which demonstrate that not all aluminum sheet with primary

alloying element of manganese is a 3xxx-series alloy. Indeed, the Aluminum Association itself

explicitly forecloses such as reading. Valeo’s T-series aluminum sheet is neither registered nor

registrable as a 3xxx-series alloy because it does meet the chemistry requirement to be

considered a proprietary equivalent as designated by the Aluminum Association.

       30.65. Commerce’s decisions not to issue a scope ruling based upon Valeo’s fourth,

March 24, 2021, scope ruling application and not to initiate a formal scope inquiry within the 45-

day time period unreasonably delayed Commerce’s determination concerning whether Valeo’s

imports of heat-treated T-series aluminum sheet are subject to the Orders.the common meaning

of the scope terms was not in accordance with the law.

                                           Count Two

                                          Count Three

       66.     Paragraphs 1 to 3065 are incorporated herein by reference.

       67.     Commerce’s regulations require that it consider the determinations of the

Commission. 19 C.F.R. 355.225(k)(1). “{A}llow{ing} Commerce to assess antidumping duties

on products intentionally omitted from the ITC’s injury investigation would frustrate the purpose

of the antidumping laws.” Ad Hoc Shrimp Trade Action Comm. v. United States, 515 F.3d 1372,

1380 (Fed. Cir. 2008) (citation omitted). “It is the responsibility of the agency, not those who




                                               -17-
        Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21    Page 59 of 68




initiated the proceedings, to determine the scope of the final orders.” Duferco Steel, 296 F.3d at

1097.

        68.     Commerce’s failure to account for the fact that the Commission determined that

heat-treat treated products were not covered by the scope of the orders was not in accordance

with the law.

                                           Count Four

        69.     Paragraphs 1 to 68 are incorporated herein by reference.

        70.     “Substantial evidence is more than a mere scintilla.” See Universal Camera v.

National Labor Relations Board, 340 U.S. 474, 477 (1951). “The substantiality of evidence

must take into account whatever in the record fairly detracts from its weight.” See Universal

Camera v. National Labor Relations Board, 340 U.S. 474, 488 (1951). Commerce referred to no

evidence on the record to support its finding that Valeo’s heat-treated T-series aluminum sheet

was not heat-treated. Record evidence contained exhaustive documentation and technical

information on this point, which was never rebutted. Moreover, Commerce’s own scope ruling

memorandum acknowledges that Valeo’s product at issue undergoes “thermal treatment.” Not

only there is ample evidence on the record that Valeo’s products are heat-treated, Commerce

does not provide any support to find that they are not.

        71.     “The reviewing court {}may not supply a reasoned basis for the agency’s action

that the agency itself has not given.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins.

Co., 463 U.S. 29, 43 (1983) (citation omitted). However, the reviewing court will “uphold a

decision of less than ideal clarity if the agency’s path may reasonably be discerned.” Id. at 43

(citation omitted).




                                               -18-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21      Page 60 of 68




       72.     Commerce found that Valeo’s heat-treated T-series aluminum was not heat-

treated by presuming that clad and heat-treated products are mutually exclusive, not attempting

to discern a definition of heat treatment, and shifting the burden to Valeo to demonstrate that its

product is heat-treated without explaining its understanding of that term.

       73.     Evidence on the record defines “heat-treated” and Valeo demonstrated that its T-

series aluminum sheet met those definitions.

       74.     Commerce’s determination that Valeo’s T-series aluminum sheet was not heat-

treated was not supported by substantial evidence and Commerce’s failure to define “heat-

treated” was contrary to law.

                                            Count Five

       75.     Paragraphs 1 to 74 are incorporated herein by reference.

       76.     Commerce determined that clad products include those with “some diffusion”

among the layers, and that “some diffusion” means any diffusion short of complete homogeneity.

       77.     Neither the scope language, the Aluminum Association publications, nor (k)(1)

factors support this interpretation.

       78.     Commerce’s interpretation of “clad” was contrary to the law.

                                            Count Six

       79.     Paragraphs 1 to 78 are incorporated herein by reference.

       80.     Although courts have allowed relying on industry jargon to assess whether a term

in the scope language is ambiguous, similar to relying on dictionary definitions, Commerce’s

analysis here went beyond interpretation of a common meaning of a term. ArcelorMittal

Stainless Belgium N.V. v. United States, 694 F.3d 82, 88, n.8 (Fed. Cir. 2012).




                                                -19-
       Case 1:21-cv-00426-MAB Document 14                Filed 11/15/21      Page 61 of 68




(“{C}onsideration of industry jargon is not the same as conducting a full-fledged analysis of the

factors embodied in 19 C.F.R. § 351.225(k)(2).”).

       81.     Commerce’s regulations provide for procedures to initiate formal scope inquiries

to consider (k)(2) factors. See 19 C.F.R. 351.225(e), (f) and (k)(2).

       82.     Commerce primarily relied upon various publications by the Aluminum

Association and declarations of the Vice President of Standards and Technology for the

Aluminum Association. Commerce relied on those sources to define various terms, such as

“clad,” “heat-treated,” and “3xxx-series.” Those are not appropriate regulatory (k)(1) sources.

       83.     Commerce’s analysis involved connecting various publications and declarations

in its attempt to discern a dispositive meaning. These declarations were not an appropriate (k)(1)

source because they are not the same type of publicly available sources, such as dictionary

definitions or scientific authorities, which define a common meaning. And, Commerce’s

analysis of the Aluminum Association publications went beyond defining a common meaning.

       84.     Alternatively, Commerce’s interpretations based on those sources were not

dispositive when considering contradicting evidence in the same sources.

       85.     Commerce’s failure to initiate a formal scope ruling pursuant to its regulations

was contrary the law.

                                           Count Seven

       31.86. Paragraphs 1 to 85 are incorporated herein by reference.

       32.87. The Declaratory Judgment Act authorizes any court of the United States to

“declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a). “Any such declaration

shall have the force and effect of a final judgment or decree and shall be reviewable as such.” Id.




                                                -20-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21     Page 62 of 68




       33.88. Each of Commerce’s threefour decisions to extend the deadline for deciding

whether to issue a scope ruling based upon Valeo’s fourth, March 24, 2021, scope ruling

application or initiate a formal scope inquiry were claimed to be for a “good cause” pursuant to

19 C.F.R. §351.302(b). See 1st Extension on 4th Scope Ruling Request; 2nd Extension on 4th

Scope Ruling Request; 3rd Extension on 4th Scope Ruling Request.; 4th Extension on 4th Scope

Ruling Request.

       34.89. Commerce did not identify a good cause in each extension. Commerce only

provided a summary reasoning for the extension – “{i} light of issues concerning key terms used

in the scope of the Orders.”” or, as stated in the latest extension, “issues with the information

value provided to describe its product as part of its scope ruling application and large amount of

material.” Id.

       35.90. Issues with the “key terms used in scope of the Orders” are not a good cause to

violate regulatory deadlines because issues with scope terms exist in virtually every scope ruling

request. Generally, that is why parties request a scope ruling – to “clarify the scope of an order.”

19 C.F.R. §351.225. If a good cause were to exist every time there were issues with the scope

terms, “good cause” would lose any meaning. Thus, Commerce lacked a good cause to extend

the regulatory deadline each of the three times.

       36.91. Furthermore, the regulations envision that the issue may “warrant a further

inquiry” and provide for the appropriate mechanism for initiating an official scope inquiry when

Commerce cannot make its determination “based solely upon the application and the descriptions

of the merchandise referred to in paragraph (k)(1).” 19 C.F.R. §351.225(e). Thus, issues with

the scope terms are not a good cause for an extension but are a reason to initiate a formal scope

inquiry.




                                                -21-
       Case 1:21-cv-00426-MAB Document 14                 Filed 11/15/21    Page 63 of 68




       37.92. Valeo is therefore entitled to a declaratory judgment that Commerce’s extensions

of the regulatory deadline were ultra vires and contrary to law.

                         PRAYER FOR RELIEF AND JUDGMENT

       WHEREFORE, Valeo respectfully requests that the Court enter judgment:

               1. Declaring that Commerce’s May 10, June 22, and August 6, and September

                   20, 2021, extensions of the regulatory 45-day time period – for either issuing a

                   scope ruling based upon application pursuant to 19 C.F.R. §351.225(d) or

                   initiating a formal scope inquiry pursuant to 19 C.F.R. §351.225(e) – were not

                   for a “good cause.”

               2. Declaring that Commerce’s decisions not to issue a scope ruling based upon

                   Valeo’s fourth, March 24, 2021, scope ruling application by the 45-day

                   deadline on May 10, 2021, and to extend the decision until September 20,

                   2021 (which Commerce may delay again), constitute an unreasonable delay of

                   an otherwise required agency action.

               2. Holding that the Decision Memorandum is unsupported by substantial

                   evidence and not in accordance with law.

               3. Remanding Commerce’s determination at issue with instructions to issue a

                   new determination consistent with the Court’s opinion.

               3.4.Ordering Commerce to make a determination pursuant to 19 C.F.R.

                   §351.225(d) or initiate a formal scope inquiry pursuant 19 C.F.R. §351.225(e),

                   and conduct the scope inquiry according to the regulations in effect at the time

                   of the scope ruling application.

               5. Providing such other relief as this Court may deem just and proper.




                                               -22-
      Case 1:21-cv-00426-MAB Document 14    Filed 11/15/21      Page 64 of 68




                                      Respectfully submitted,




Dated: August 17November 15, 2021
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                                       John Anwesen

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                                    -23-
                     Case 1:21-cv-00426-MAB Document 14                             Filed 11/15/21            Page 65 of 68         FORM 5
                                  UNITED STATES COURT OF INTERNATIONAL TRADE
                                                     INFORMATION STATEMENT

                                                      (Place an "X" in applicable [ ])
PLAINTIFF:
VALEO NORTH AMERICA, INC.
___________________________________________

ATTORNEY (Name, Address, Telephone No.):
Daniel Cannistra
1001 Pennsylvania Avenue, N.W.
Washington, DC 20004-2595
Tel: 202.624.2902

                                                     CONSTITUTIONAL ISSUE - 28 U.S.C. ' 255

If this action raises an issue of the constitutionality of an Act of Congress, a proclamation of the President or an Executive order,
check this box: [ ]



                                                                JURISDICTION

28 U.S.C. ' 1581(a) - Tariff Act of 1930, Section 515 - 19 U.S.C. ' 1515
[ ] Appraisal                   [ ] Classification    [ ] Charges or Exactions       [ ] Vessel Repairs
[ ] Exclusion                   [ ] Liquidation       [ ] Drawback
[ ] Refusal to Reliquidate     [ ] Rate of Duty       [ ] Redelivery

28 U.S.C. ' 1581(b) - Tariff Act of 1930, Section 516 - 19 U.S.C. ' 1516
     [ ] Appraisal           [ ] Classification        [ ] Rate of Duty

28 U.S.C. ' 1581(c) - Tariff Act of 1930, Section 516A(a)(1), (a)(2) or (a)(3) - 19 U.S.C. '1516a or Section 517(g) – 19 U.S.C. §1517
(Provide a brief description of the administrative determination you are contesting, including any relevant Federal Register or
Administrative Determination citation(s) and the product(s) involved in the determination. For Section 516A(a)(1) or (a)(2), cite the specific
subparagraph and clause of the section.)
                        § 1516a(a)(2)(A)(ii) and (B)(vi)
Subparagraph and Clause ______________________________         Department of Commerce
                                                         Agency_______________________________
                                                         Memorandum, "Final Scope Ruling Determination," Oct. 15, 2021
Federal Register or Administrative Determination Cite(s) ______________________________________________________________
          Certain aluminum common alloy sheet from China
Product(s)_________________________________________________________________________________

28 U.S.C. ' 1581(d) - Trade Act of 1974 - 19 U.S.C. '' 2273, 2341, 2401b
[ ] U.S. Secretary of Labor       [ ] U.S. Secretary of Commerce          [ ] U.S. Secretary of Agriculture

28 U.S.C. ' 1581(e) - Trade Agreements Act of 1979, Section 305(b)(1) - 19 U.S.C. ' 2515 (Provide a brief statement of the final
determination to be reviewed.)


28 U.S.C. ' 1581(f) - Tariff Act of 1930, Section 777(c)(2) - 19 U.S.C. ' 1677f(c)(2)
Agency:    [ ] U.S. International Trade Commission           [ ] Administering Authority

28 U.S.C. ' 1581(g) - Tariff Act of 1930, Section 641 - 19 U.S.C. ' 1641 - or Section 499 - 19 U.S.C. ' 1499
[ ] Sec. 641(b)(2)    [ ] Sec. 641(b)(3)          [ ] Sec. 641(c)(1)      [ ] Sec. 641(b)(5)
[ ] Sec. 641(c)(2)    [ ] Sec. 641(d)(2)(B) [ ] Sec. 499(b)
                     Case 1:21-cv-00426-MAB Document 14                          Filed 11/15/21         Page 66 of 68
                                                                JURISDICTION
                                                                   (Continued)

   28 U.S.C. ' 1581(h) - Ruling relating to:
        [ ] Classification       [ ] Valuation              [ ] Restricted Merchandise
        [ ] Rate of Duty         [ ] Marking                [ ] Entry Requirements
        [ ] Drawbacks            [ ] Vessel Repairs         [ ] Other: ________________
        _________________________________________________________________________________

   28 U.S.C. ' 1581(i) - (Cite any applicable statute and provide a brief statement describing jurisdictional basis.)
  The Court has jurisdiction pursuant to 28 U.S.C. § 1581(i)(1)(D) because this action “arises out of {} law{s} of the United States providing
  for . . . administration and enforcement with respect to the matters referred to in . . . subsections (a)–(h) of this section.” The agency
  decision contested concerns administration and enforcement of a matter referenced in subsection (c) of 28 U.S.C. § 1581 and described
  under 19 U.S.C. § 1516a(a)(2)(B)(vi). 28 U.S.C. § 1581(c) jurisdiction is not available for some of the claims.


   28 U.S.C. ' 1582 - Actions Commenced by the United States
        [ ] (1) Recover civil penalty under Tariff Act of 1930:
                  [ ] Sec. 592              [ ] Sec. 593A           [ ] Sec. 641(b)(6)
                  [ ] Sec. 641(d)(2)(A)    [ ] Sec. 704(i)(2)      [ ] Sec. 734(i)(2)
        [ ] (2) Recover upon a bond
        [ ] (3) Recover customs duties



                                                            RELATED           C A S E (S)


   To your knowledge, does this action involve a common question of law or fact with any other action(s) previously decided or now pending?


                                            PLAINTIFF                            COURT NUMBER                                JUDGE


   [ ] Decided:




   [ ] Pending:




                                                      (Attach additional sheets, if necessary.)

(As amended, eff. Jan. 1, 1985; Jan. 25, 2000, eff. May 1, 2000; May 25, 2004, eff. Sept. 1, 2004; Nov. 29, 2005, eff. Jan. 1, 2006;
Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 4, 2012, eff. Jan. 1, 2013; Sept. 18, 2018, eff. Oct. 15, 2018.)
                     Case 1:21-cv-00426-MAB Document 14                             Filed 11/15/21            Page 67 of 68         FORM 5
                                  UNITED STATES COURT OF INTERNATIONAL TRADE
                                                     INFORMATION STATEMENT

                                                      (Place an "X" in applicable [ ])
PLAINTIFF:
VALEO NORTH AMERICA, INC.
___________________________________________

ATTORNEY (Name, Address, Telephone No.):
Daniel Cannistra
1001 Pennsylvania Avenue, N.W.
Washington, DC 20004-2595
Tel: 202.624.2902

                                                     CONSTITUTIONAL ISSUE - 28 U.S.C. ' 255

If this action raises an issue of the constitutionality of an Act of Congress, a proclamation of the President or an Executive order,
check this box: [ ]



                                                                JURISDICTION

28 U.S.C. ' 1581(a) - Tariff Act of 1930, Section 515 - 19 U.S.C. ' 1515
[ ] Appraisal                   [ ] Classification    [ ] Charges or Exactions       [ ] Vessel Repairs
[ ] Exclusion                   [ ] Liquidation       [ ] Drawback
[ ] Refusal to Reliquidate     [ ] Rate of Duty       [ ] Redelivery

28 U.S.C. ' 1581(b) - Tariff Act of 1930, Section 516 - 19 U.S.C. ' 1516
     [ ] Appraisal           [ ] Classification        [ ] Rate of Duty

28 U.S.C. ' 1581(c) - Tariff Act of 1930, Section 516A(a)(1), (a)(2) or (a)(3) - 19 U.S.C. '1516a or Section 517(g) – 19 U.S.C. §1517
(Provide a brief description of the administrative determination you are contesting, including any relevant Federal Register or
Administrative Determination citation(s) and the product(s) involved in the determination. For Section 516A(a)(1) or (a)(2), cite the specific
subparagraph and clause of the section.)
                         D D  $ LL DQG % YL         'HSDUWPHQWRI&RPPHUFH
Subparagraph and Clause ______________________________ Agency_______________________________
                                                         0HPRUDQGXP)LQDO6FRSH5XOLQJ'HWHUPLQDWLRQ2FW
Federal Register or Administrative Determination Cite(s) ______________________________________________________________
          &HUWDLQDOXPLQXPDOOR\VKHHWIURP&KLQD
Product(s)_________________________________________________________________________________

28 U.S.C. ' 1581(d) - Trade Act of 1974 - 19 U.S.C. '' 2273, 2341, 2401b
[ ] U.S. Secretary of Labor       [ ] U.S. Secretary of Commerce          [ ] U.S. Secretary of Agriculture

28 U.S.C. ' 1581(e) - Trade Agreements Act of 1979, Section 305(b)(1) - 19 U.S.C. ' 2515 (Provide a brief statement of the final
determination to be reviewed.)


28 U.S.C. ' 1581(f) - Tariff Act of 1930, Section 777(c)(2) - 19 U.S.C. ' 1677f(c)(2)
Agency:    [ ] U.S. International Trade Commission           [ ] Administering Authority

28 U.S.C. ' 1581(g) - Tariff Act of 1930, Section 641 - 19 U.S.C. ' 1641 - or Section 499 - 19 U.S.C. ' 1499
[ ] Sec. 641(b)(2)    [ ] Sec. 641(b)(3)          [ ] Sec. 641(c)(1)      [ ] Sec. 641(b)(5)
[ ] Sec. 641(c)(2)    [ ] Sec. 641(d)(2)(B) [ ] Sec. 499(b)
                      Case 1:21-cv-00426-MAB Document 14                            Filed 11/15/21          Page 68 of 68
                                                                  JURISDICTION
                                                                     (Continued)

   28 U.S.C. ' 1581(h) - Ruling relating to:
        [ ] Classification        [ ] Valuation              [ ] Restricted Merchandise
        [ ] Rate of Duty          [ ] Marking                 [ ] Entry Requirements
        [ ] Drawbacks             [ ] Vessel Repairs         [ ] Other: ________________
        _________________________________________________________________________________

   28 U.S.C. ' 1581(i) - (Cite any applicable statute and provide a brief statement describing jurisdictional basis.)
  7KH&RXUWKDVMXULVGLFWLRQSXUVXDQWWR86& L  ' EHFDXVHWKLVDFWLRQ³DULVHVRXWRI^`ODZ^V`RIWKH8QLWHG6WDWHV
  SURYLGLQJIRUDGPLQLVWUDWLRQDQGHQIRUFHPHQWZLWKUHVSHFWWRWKHPDWWHUVUHIHUUHGWRLQVXEVHFWLRQV D ± K RIWKLVVHFWLRQ´7KH
  DJHQF\GHFLVLRQFRQWHVWHGFRQFHUQVDGPLQLVWUDWLRQDQGHQIRUFHPHQWRIDPDWWHUUHIHUHQFHGLQVXEVHFWLRQ F RI86&DQG
  GHVFULEHGXQGHU86&D D  % YL 86& F MXULVGLFWLRQLVQRWDYDLODEOHIRUVRPHRIWKHFODLPV


   28 U.S.C. ' 1582 - Actions Commenced by the United States
        [ ] (1) Recover civil penalty under Tariff Act of 1930:
                  [ ] Sec. 592               [ ] Sec. 593A            [ ] Sec. 641(b)(6)
                  [ ] Sec. 641(d)(2)(A)      [ ] Sec. 704(i)(2)       [ ] Sec. 734(i)(2)
        [ ] (2) Recover upon a bond
        [ ] (3) Recover customs duties



                                                             RELATED             C A S E (S)


   To your knowledge, does this action involve a common question of law or fact with any other action(s) previously decided or now pending?


                                             PLAINTIFF                             COURT NUMBER                                  JUDGE


   [ ] Decided:




   [ ] Pending:




                                                       (Attach additional sheets, if necessary.)

(As amended, eff. Jan. 1, 1985; Jan. 25, 2000, eff. May 1, 2000; May 25, 2004, eff. Sept. 1, 2004; Nov. 29, 2005, eff. Jan. 1, 2006;
Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 4, 2012, eff. Jan. 1, 2013; Sept. 18, 2018, eff. Oct. 15, 2018.)
